2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 1 of 143

Message

From: EPA Press Office [Press@epa.gov]
Sent: 3/11/2025 2:00:28 PM

To: EPA Press Office [Press@epa.gov]
Subject: EPA Media Coverage - March 11, 2025

v4 AN
Yd Oh iiler-Meym l¥ le) iow Vir-lle-Miu(-velt- mere) Y(-1e-[e |=)

March 11, 2025
EPA ANNOUNCEMENTS

EPA Administrator Lee Zeldin Cancels 400+ Grants in 4th Round of Cuts with DOGE, Saving
Americans More than $1.7B

EPA Announces Path Forward on Chemical Reviews to Protect Public Health, Increase Efficiency and
Follow the Law

NEWS

Breitbart: EPA Chief Lee Zeldin Cancels ‘400 DEI and Environmental Justice Grants,’ Saves Nearly $2
Billion

“Working hand-in-hand with DOGE to rein in wasteful federal spending, EPA has saved more than $2 billion in taxpayer
money,” said EPA Administrator Zeldin. “It is our commitment at EPA to be exceptional stewards of tax dollars.”

Reuters: US EPA administrator says he canceled DEI grants totaling $1.7 billion
“lam cancelling over 400 DEI and Environmental Justice grants across 9 grant programs totaling $1.7 billion, bringing
EPA’s total savings to over $2 billion,” Zeldin said on X, opens new tab.

“This fourth round of EPA/ @DOGE cuts was our biggest yet,” he said.

AP: EPA Froze ‘Green Bank’ Funds Worth Billions, Climate Group Suit Says

In a video posted on X, Zeldin said the EPA would revoke contracts for the still-emerging program. Zeldin cited a
conservative journalist’s undercover video made late last year that showed a former EPA employee saying the agency
was throwing “gold bars off the Titanic” — presumably a reference to spending before the start of Trump’s second term.

The Hill: Trump considers easing safety screenings for chemicals
“Today’s announcement will allow EPA to develop a path forward to ensure a timely review of chemicals while
bolstering our commitment to safeguard public health and the environment,” Zeldin said in a statement.

*Washington Examiner: Chicago Teachers Union got last-second funding from the Biden EPA
Just days before then-President-elect Donald Trump was set to take office, President Joe Biden’s Environmental
Protection Agency wired $100,000 to an arm of the Chicago Teachers Union to train public school children in
environmental advocacy.

*subscription required; full story not included below

EPA_00298977
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 2 of 143

SOCIAL ENGAGEMENT

EPA (298K Facebook followers)

oa elcde

3 reac lieve |

US DY: UM aoa es liamerslarersl|i[ayeMey (=e. OND) a E-laeM ice lniil=iales| me Urateee lec ln
FeTexcoscomoes1eo lum 8) cey-ice lui em Coles] (ats a s)| LO) ) mola aye tars Boe (6) ta]
fers [a som (eRe) yas] MO)

SDelcmcelUiatimcellie Rem ae-VE CU LeSR re lomelU] me) )etetoci m=) a

ba) |

oa eis
ry 2 Fe
3 wig

male le \VeoW (0) ON =) Le eM ely MEO) A ma (oy(6 ltl Me Eee lin) oN oe-lic-rele Ae ii itl t Rela]
EMe ett) Mm CON ii Uic.][y2-B ig RO rR lV iCOM alee aga lnlemeltlilsm e- le
PViilclececlakelelcon (eles iowee) [ay Moke (oR sca tele Miakelt im elelu (mene l-)| 8)
iO) RU sexe (= -1a

edeeheclea dil R-lileMsDelats liu: Bat-(e
Pir e Ge ie) o

OTT a Vanlcvalerclae-leiae) ee oa alU ia eave olzter-lU[ct-Me) an]
olUige(claltolunice ole) ciMOlM ane riiee ie lm weer iis
BAe Tay MMs TMs delay: Beret. Wun ted or RTL [o) RCIA
TaNcesvel lake else =So1elemanr-lalUlg-vouel gare Reon g-\"/1¢-)|F4-¥-)

(o(W inectstst-lnlar-]P-Vuni-is (erclen ave US\eavan A ROY) |bey-lg ents

NLA (cr-\el-] eH ce) See E ity

aul
ites
pose) N13 = 7X

yr A:) 4

FULL ARTICLES

Breitbart: EPA Chief Lee Zeldin Cancels ‘400 DEI and Environmental Justice Grants,’ Saves Nearly $2
Billion

U.S. Environmental Protection Agency (EPA) Administrator Lee Zeldin announced that his department canceled over
“400 DEI and environmental justice grants,” saving nearly $2 billion.

In a press release on Monday, the EPA said the grants were canceled with “the assistance of the Department of
Government Efficiency (DOGE).” The grants were reportedly identified “across nine unnecessary programs” with a
savings totaling $1.7 billion.

EPA_00298978
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 3 of 143

“This marks the fourth round of EPA-DOGE partnered cancellations as the Administrator oversees a line-by-line review
of spending, bringing the total taxpayer dollars saved to more than $2 billion since being sworn in,” the release said.

“Working hand-in-hand with DOGE to rein in wasteful federal spending, EPA has saved more than $2 billion in taxpayer
money,” said EPA Administrator Zeldin. “It is our commitment at EPA to be exceptional stewards of tax dollars.”

The announcement comes weeks after Zeldin pledged to recover the $20 billion in taxpayer funds lost by the Biden
administration to climate projects. Zeldin made the announcement in Februrary when he charged the Biden
administration of “throwing gold bars off the Titanic” in relation to the money lost on climate projects that he said was a
“rush job with reduced oversight.”

“The days of irresponsibly shoveling boatloads of cash to far-left activist groups in the name of environmental justice
and climate equity are over,” Zeldin said. “The American public deserves a more transparent and accountable
government than what transpired these past four years.”

Zeldin said the EPA would also terminate its contract with the bank overseeing the Greenhouse Gas Reduction Fund, a
program that emerged from Biden’s 2022 climate policy.

“The fund seeks to leverage public and private dollars to invest in clean-energy technologies such as solar panels, heat
pumps and more,” per the Washington Post. “Though he did not mention the bank by name, Citi had an agreement with
the Biden administration to oversee the release of $20 billion under the program to nonprofit groups and states,
according to publicly available documents.”

Zeldin referenced a video from December by Project Veritas that featured an EPA official saying that the Biden
administration was “trying to get the money out as fast as possible before they come in and stop it all.”

“It truly feels like we’re on the Titanic and we’re throwing like gold bars off the edge,” the official added.

Reuters: US EPA administrator says he canceled DEI grants totaling $1.7 billion

WASHINGTON, March 10 (Reuters) - U.S. Environmental Protection Agency Administrator Lee Zeldin said on Monday he
canceled 400 environmental justice and diversity, equity and inclusion grants totaling $1.7 billion in the Trump
administration’s latest crackdown on DEI initiatives.

The EPA did not immediately respond to a request for comment on details about the cancellation.
WHY IT’S IMPORTANT

Since taking office on January 20, Republican President Donald Trump has passed executive orders aimed at dismantling
DEI in the government and private sector.

‘Protein is in the middle of a transition. So the big protein provider - that can be normally meatpackers or it can be
cereals makers -

The so-called Department of Government Efficiency, under the directive of Trump ally and billionaire Elon Musk, has
taken steps to cut spending and staffing related to DEI initiatives.

KEY QUOTES

“lam cancelling over 400 DEI and Environmental Justice grants across 9 grant programs totaling $1.7 billion, bringing
EPA’s total savings to over $2 billion,” Zeldin said on X, opens new tab.

“This fourth round of EPA/ @DOGE cuts was our biggest yet,” he said.

EPA_00298979
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 4 of 143

CONTEXT

DEI programs have been part of workplace diversity efforts to ensure fairer representation for groups seen as historically
marginalized, such as African Americans, LGBTQ+ community members, women, disabled people and other ethnic
minorities in the United States.

Civil rights advocates say DEI efforts help uplift marginalized groups and address the continued effects of historical and
generational inequity. Trump and his allies say DEI unfairly discriminates against other Americans, including white
people and men.

AP: EPA Froze ‘Green Bank’ Funds Worth Billions, Climate Group Suit Says

WASHINGTON (AP) — Anonprofit that was awarded nearly $7 billion by the Biden administration to finance clean
energy and climate-friendly projects has sued President Donald Trump’s Environmental Protection Agency, accusing it of
improperly freezing a legally awarded grant.

Climate United Fund, a coalition of three nonprofit groups, demanded access to a Citibank account it received through
the Greenhouse Gas Reduction Fund, a program created in 2022 by the bipartisan Inflation Reduction Act and more
commonly known as the green bank. The freeze threatens its ability to issue loans and even pay employees, the group
said.

“The combined actions of Citibank and EPA effectively nullify a congressionally mandated and funded program,”
Maryland-based Climate United wrote in a Monday court filing.

In a related action, the Coalition for Green Capital, a separate group that received $5 billion from the Biden-era program,
sued Citibank Monday, alleging breach of contract over the refusal to disburse the grant funds awarded by the EPA.

“Citi’s actions have blocked CGC from deploying funds appropriated by Congress for energy projects to lower electricity
costs and provide clean air and water for all Americans,’' the Washington-based group said in a statement.

The two nonprofits are among eight groups tapped by then-EPA Administrator Michael Regan to receive $20 billion to
finance tens of thousands of projects to fight climate change and promote environmental justice. The money was
formally awarded in August.

While favored by congressional Democrats, the green bank drew immediate criticism from Republicans, who routinely
denounced it as an unaccountable “slush fund.’' Regan sharply disputed that claim.

The bank was quickly targeted by EPA Administrator Lee Zeldin, who was confirmed to the role in late January. In a video
posted on X, Zeldin said the EPA would revoke contracts for the still-emerging program. Zeldin cited a conservative
journalist’s undercover video made late last year that showed a former EPA employee saying the agency was throwing
“gold bars off the Titanic” — presumably a reference to spending before the start of Trump’s second term.

Zeldin has repeatedly used the term “gold bars” to accuse the Greenhouse Gas Reduction Fund’s recipients of
misconduct, waste and possible fraud.

According to the lawsuit filed in federal court, Citibank cut off access to Climate United’s bank account on February 18 —
an action the bank did not explain for weeks.

The cutoff took place as Zeldin made multiple public appearances accusing Climate United and other groups of

misconduct, eventually announcing that the funds were frozen, according to the lawsuit. Climate United said the EPA
has refused to meet with the group.

EPA_00298980
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 5 of 143

Several Democratic lawmakers slammed Zeldin’s attacks on the green bank as a “sham investigation and
unsubstantiated funding freeze.”

The Trump administration’s “baseless attacks on these investments will only cost jobs, increase prices and harm our
communities,’’ Maryland Sen. Chris Van Hollen, Massachusetts Sen. Ed Markey and Michigan Rep. Debbie Dingell said in
a statement Monday. The three Democrats pushed for creation of the green bank.

Citibank said it was reviewing the Climate United lawsuit.

“As we’ve said previously, Citi has been working with the federal government in its efforts to address government
officials’ concerns regarding this federal grant program,” the bank said in a statement Monday. “Our role as financial
agent does not involve any discretion over which organizations receive grant funds. Citi will of course comply with any
judicial decision.”

The EPA declined to comment, citing pending litigation. A hearing on the case is scheduled for Wednesday in U.S. District
Court for the District of Columbia.

In its court filing, Climate United pointed to the resignation of Denise Cheung, a high-ranking prosecutor in the U.S.
Attorney’s Washington office, who said she was forced to step dow n after refusing demands from top Trump
administration officials to freeze the climate groups’ assets.

Zeldin raised questions in a letter to the agency’s watchdog about the EPA’s use of Citibank to hold the money, a
structure that allowed the eight entities to be used as “pass throughs” for eventual grant recipients. The process
undermined transparency, Zeldin alleged.

He also questioned the qualifications of some of the entities overseeing the grants and said some were affiliated with
the Biden administration or Democratic politics, including Stacey Abrams, a former Democratic nominee for Georgia
governor. Trump singled out Abrams over her ties to the green bank in his address to Congress last week.

In a letter to EPA officials on March 4, Climate United disputed Zeldin’s allegations. The group’s lengthy application
material is publicly available and the EPA used a rigorous selection process, Climate United said, adding that its spending
is transparent.

In addition to Climate United, the new fund has awarded money to other nonprofits, including the Coalition for Green
Capital, Power Forward Communities, Opportunity Finance Network, Inclusiv and the Justice Climate Fund. Those
organizations have partnered with a range of groups, including Rewiring America, Habitat for Humanity and the
Community Preservation Corporation.

The green bank represents ideas Congress enacted that the Trump administration doesn’t like: fighting climate change
and helping communities that are often low-income or majority-Black and Hispanic, said Ilmi Granoff, a climate finance
expert at the Sabin Center for Climate Change Law at Columbia University.

“The resources have already been spent, which means they’re trying to come up with pretexts to do something the
government is not supposed to do, which is claw back resources” that Congress provided, Granoff said, comparing the
Trump administration’s investigations to a “fishing expedition.”

The Trump administration said Friday that it’s pulling $400 million from Columbia University, canceling grants and
contracts because of what the government describes as the lvy League school’s failure to squelch antisemitism on
campus.

The Hill: Trump considers easing safety screenings for chemicals
The Trump administration will consider easing regulations under which it considers the safety of existing chemicals —
drawing concerns from public health advocates.

EPA_00298981
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 6 of 143

The administration announced Monday that it was weighing a rewrite of the rules that govern safety screenings for
these substances, which decide whether they should be restricted.

If implemented, such changes are ultimately expected to prevent further regulations on chemicals.

Environmental Protection Agency (EPA) Administrator Lee Zeldin described the potential changes as allowing the agency
to balance safety with speed.

“Today’s announcement will allow EPA to develop a path forward to ensure a timely review of chemicals while
bolstering our commitment to safeguard public health and the environment,” Zeldin said in a statement.

However, opponents of the potential moves said they could allow for fewer restrictions on toxic chemicals.

“The public is not going to be protected,” said Betsy Southerland, a former career official at the EPA.

Among the changes the EPA said it was considering is baking in an assumption that all employees who handle potentially
toxic chemicals would be wearing personal protective equipment — likely raising the bar needed to deem a chemical
dangerous.

The agency is also thinking about narrowing the scope of the review as it evaluates a chemical’s safety — saying it will
weigh whether the agency needs to look at every single use of a chemical during its review period.

Southerland said the potential impacts of such changes would be “huge.”
“It will undermine all regulation of toxic chemicals,” she said. “They’re going to eliminate whole routes of exposure or ...
really weaken the assumptions so that the few routes of exposure you’re left with in the risk evaluation will be

unrealistically low estimates of exposure.”

The possible move comes as President Trump pledges to take on chemical safety issues, having said in his recent address
to Congress that he wants to “get toxins out of our environment.”

At the same time, his administration last week signaled that it could also loosen safety standards at chemical plants and
has put chemical industry alumni in top roles at the EPA.

VIDEO CLIPS

EPA: Administrator Lee Zeldin’s First Month in Office (Video)
Administrator Lee Zeldin hit the ground running in his first month in office. Check out this video to learn more about all
his accomplishments.

EPA: The Golden Age of American Success is Upon Us (Video)
EPA Administrator Zeldin highlights the Trump administration’s accomplishments following the President’s Joint Address
to Congress and reaffirms EPA’s commitment to Powering the Great American Comeback.

EPA_00298982
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 7 of 143

Message

From: Atkinson, Emily [Atkinson.Emily@epa.gov]
Sent: 3/13/2025 8:35:31 PM

To: Voyles, Travis [voyles.travis@epa.gov]
Subject: 3/14/25 Calendar (Travis Voyles)

Attachments: Administrator's Reading File.3.13.25.pdf; EPA Media Coverage - March 13, 2025; AWR Final 3-13-2025.docx; AWR
Final 3-13-2025.pdf; FOR TOMORROW: Travis' CropLife Prep Meeting; 1.24.2025 draft WBM agenda.pdf; 2025 EPA
Event Information Form .pdf; VoylesCLARemarks031925.docx; PRIA Coalition US EPA Transition Team
Correspondence.pdf; 2025 03 11 CCR Briefing. final.docx; Administrator Briefing CCR 3.11.25 final.pptx; CCR
Requests 3.11.25 final.docx; Pebble Briefing for incoming leadership_14MAR2025.pdf; ATT70695; ATT47072;
ATT87855; ATT61732; ATT50229; ATT92726; ATT53803; ATT66082; ATT94120; ATT68227; ATT38553; ATT24669;
ATT54190; ATT87379; ATT25637; ATT73010; ATT37012; ATTO5066; ATT36132; ATT36921

Administrator's Daily Reading File - March 13, 2025

POF

Administrator's
Reading File.3.1...

Administrator's Weekly Report for March 13, 2025

ue

AWR Final AWR Final
3-13-2025. pdf 3-13-2025.docx

EPA Media Coverage - March 13, 2025

EPA Media
Coverage - Marc...

Fri, Mar 14
H 7:30 AM-—8:00AM _ Contract/Grant Review
O 8:00 AM—8:15AM_ Free
a 8:15AM—9:00AM Energy issue // USDA
a 9:00 AM— 10:00AM HOLD
a 10:00 AM-—11:00AM EXTERNAL: In Person Meeting with Ryan Jackson, Vice President,
Federal Affairs, American Chemistry Council (Confirmed)
O 11:00 AM-—11:30 AM _ Free
a 11:30 AM — 12:30 PM EXTERNAL: In Person Meeting with Jeffrey Clarke and Stuart Levenbach,
OIRA and EPA Senior Leadership (Confirmed)
a 12:30 PM-—1:00 PM _ Water Meeting
J 1:00 PM-—1:15PM_ Free
a 1:15 PM-—1:45PM Planning for Crop Life Speech
7 LC + +
tt G POF
FOR PRIA Coalition US VoylesCLARema... 2025 EPA Event
TOMORROW: Tr... EPA Transition T... Information Form...

EPA_00298986
Ni

Oo

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 8 of 143

1:45 PM — 2:15 PM
2:15 PM — 2:45 PM

2:45 PM — 3:00 PM
3:00 PM — 4:00 PM

4:00 PM — 4:30 PM
4:00 PM — 7:00 PM
4:15 PM — 5:15 PM

6:45 PM — 7:00 PM

1.24.2025 draft
WBM agenda. pdf

Free
Brief on CCR
CCR Requests Administrator 2025 03 11 CCR

3.11.25 final.docx Briefing CCR 3.1... Briefing. final.docx

Free

Meeting on Clean Water Act and Bristol Bay Pebble Mine
Pebble Briefing for

incoming leaders...

PCC — NEDC: Coal EO

TAV Hill

Options Selection + Early Guidance: Carbon Pollution Standard Repeal
Proposal NPRM (SAN: 12674) OAR
Weekly Energy Wins

EPA_00298987
2:25-CVv-02152-RMG

Date Filed 04/21/25

Entry Number 131 Page 9 of 143

Message

From: Atkinson, Emily [Atkinson.Emily@epa.gov]

Sent: 2/28/2025 9:06:53 PM

To: Voyles, Travis [voyles.travis@epa.gov]

Subject: 3/3/25 Calendar (Travis Voyles)

Attachments: ECOS Statement on Reported 65% Cut for U.S. EPA.pdf; ECOS Statement on Reported 65% Cut for U.S. EPA;

2025-03-03 Briefing Document - Priority Water Litigation Topics - Short List.docx; 2025-03-03 Background - Water
Litigation Briefing for the AO .docx; RE: Request for Relativity Training; EPA Media Coverage - 28 February 2025; FW:
NEPA Implementation Slides; NEPA Implementation Briefing_2.26.2025.pdf; ATT38120; ATT88344; ATT45452;
ATT31378; ATT71687; ATT48805; ATT65010; ATT19064; ATT41595; ATT90754; ATT86750; ATTS3583; ATT84127;
ATT68005; ATT39102; ATT18307; ATT09457; ATT39059; ATT39635; ATT26924; ATTO8150; ATT60950; ATT29491;
ATT43474

ECOS Statement on R:

ECOS Statement
on Reported 65...

EPA Media Coverage -

EPA Media
Coverage - 28 F...

Mon, Mar 3

ECOS Statement
on Reported 65...

28 February 2025

7:30 AM — 8:00 AM
8:00 AM — 8:30 AM
8:30 AM — 9:15 AM

9:15 AM — 9:30 AM
9:30 AM — 9:45 AM

9:45 AM — 10:00 AM
10:00 AM — 10:30 AM

10:30 AM — 11:00 AM

11:00 AM — 12:00 PM
At 12:00 PM

12:00 PM — 12:30 PM
12:00 PM — 12:45 PM
12:45 PM — 1:00 PM
1:00 PM — 1:30 PM

eported 65% Cut for U.S. EPA

Contract/Grant Review
Free
Weekly Check In with OP + NHPA Discussion

- Ls
at

FW: NEPA NEPA
Implementation... Implementation...

Free
Connect re: speech prep for 3/19 Crop Life Event

Free
Fill out Relativity Account Form

RE: Request for
Relativity Training

Meeting with OMS re: OSC (Office of Special Counsel) and probationary
employees
Meeting w/ OAR

Security Form submitted on 2/25

EXTERNAL: In Person Meeting with Chris Vineze, TRC CEO (Confirmed)
Meat and Poultry Discussion

Free

Weekly Scheduling Call

EPA_00298988
LIBEL

Lim

2:25-Cv-02152-RMG

1:30 PM — 2:00 PM
2:00 PM — 3:00 PM
3:00 PM — 3:45 PM
3:45 PM — 4:15 PM
4:00 PM — 5:00 PM

4:30 PM — 5:30 PM
5:00 PM — 5:30 PM
5:30 PM — 6:00 PM

Date Filed 04/21/25

Entry Number 131

Free

Senior Staff Meeting
Lead Briefing
Meeting w/ OMS

FYI: Briefing: OW Litigation Part 2
You do not plan to attend

2025-03-03 2025-03-03
Background-W... Briefing Docume...

OCSPP Pesticides Follow Up
Energy Coordination Call
Free

Page 10 of 143

EPA_00298989
=CV-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 11 of 143

Environmental Council of the States

1250 H Street NW, Suite 850 | Washington, DC 20005
(202) 266-4920 | www.ecos.org

ECOS

ECOS Statement Regarding the Reported 65% Cut
to the U.S. Environmental Protection Agency

On February 28, 2025, the Environmental Council of the States (ECOS) issued the

following public statement:

“States carry out more than 90% of the nation’s federal environmental laws in
communities around the U.S., and states and their legislatures depend on Congress to
support our efforts through grants and partnerships with EPA. Dramatic cuts to EPA
should not be made at the expense of the states who need increased federal support to
provide clean and safe air, land, and water for all of our communities and to grow the

economy for all of the nation.”

For more information, contact ECOS Executive Director Ben Grumbles at

bgrumbles@ecos.org.

James Kenney Chris Wells Leah Feldon Myra Reece Ben Grumbles
New Mexico Environment Mississippi Department of Oregon Department of South Carolina Department of ECOS Executive Director
Department Environmental Quality Environmental Quality Environmental Services
ECOS President ECOS Vice President ECOS Secretary-Treasurer ECOS Past President

EPA_00298990
2:25-Cv-02152-RMG

Message

\From: bgrumbles@ecos.org
[bgrumbles@ecos.org]
Sent: 2/28/2025 8:57:17 PM

To: Voyles, Travis
[voyles.travis@epa.gov];
McIntosh, Chad
[mcintosh.chad@epa.gov]

ICC: Atkinson, Emily
[Atkinson.Emily@epa.gov]

Subject: ECOS Statement on
Reported 65% Cut for U.S.
EPA

Attachments:ECOS Statement on
Reported 65% Cut for U.S.
EPA. pdf

Gentlemen:

Date Filed 04/21/25

Entry Number 131

Page 12 of 143

Caution: This email originated from outside EPA, please exercise
additional caution when deciding whether to open attachments or click on

provided links.

Please see the attached and share as appropriate. Thanks for your continuing interest in supporting your partners

and co-regulators in the states.

Ben Grumbles,
ECOS Executive Director

EPA_00298991
=CV-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 13 of 143

Environmental Council of the States

1250 H Street NW, Suite 850 | Washington, DC 20005
(202) 266-4920 | www.ecos.org

ECOS

ECOS Statement Regarding the Reported 65% Cut
to the U.S. Environmental Protection Agency

On February 28, 2025, the Environmental Council of the States (ECOS) issued the

following public statement:

“States carry out more than 90% of the nation’s federal environmental laws in
communities around the U.S., and states and their legislatures depend on Congress to
support our efforts through grants and partnerships with EPA. Dramatic cuts to EPA
should not be made at the expense of the states who need increased federal support to
provide clean and safe air, land, and water for all of our communities and to grow the

economy for all of the nation.”

For more information, contact ECOS Executive Director Ben Grumbles at

bgrumbles@ecos.org.

James Kenney Chris Wells Leah Feldon Myra Reece Ben Grumbles
New Mexico Environment Mississippi Department of Oregon Department of South Carolina Department of ECOS Executive Director
Department Environmental Quality Environmental Quality Environmental Services
ECOS President ECOS Vice President ECOS Secretary-Treasurer ECOS Past President

EPA_00298992
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 14 of 143

Message

From: EPA Press Office [Press@epa.gov]

Sent: 2/28/2025 3:00:12 PM

To: EPA Press Office [Press@epa.gov]
Subject: EPA Media Coverage - 28 February 2025

v1 ay AN
Yd Oj ii (or- Mo) ad¥ le) (om-Nir-lle-miu(-telt- Mexe)V-le-\¢(-)

February 28, 2025
NEWS

AP: EPA backtracks on Trump comment about cutting staff by 65% but says major spending cuts are coming
“lam saying to Congress and to the American public, please don’t send us tens of billions of dollars to spend this year,”
Zeldin said in the Fox interview.

White House spokeswoman Taylor Rogers said Thursday that “President Trump, DOGE, and Administrator Zeldin are
committed to cutting waste, fraud, and abuse.”

Zeldin “is committed to eliminating 65% of the EPA’s wasteful spending,” she added.

Newsmax: Lee Zeldin to Newsmax: EPA Budget Can Spare Tens of Billions
In fact, Zeldin said the agency can run on 65% less.

"| don't want it. We don't need it. The American taxpayer needs it. That's our message to Congress," Zeldin said on "Rob
Schmitt Tonight." [...]

"| have zero tolerance for any waste and abuse, and | want EPA to be operating as efficiently as possible," Zeldin said.
"That means looking at grants and contracts, travel expenditures, real estate footprint and staff, too. We're looking at
everything."

The Washington Post: FBI investigating Trump EPA claims of fraud in $20B Biden grant fund
An EPA spokesperson repeated department administrator Lee Zeldin’s allegations.

“When we learned about the Biden administration’s scheme to quickly park $20 billion outside the agency, we
suspected that some organizations were created out of thin air just to take advantage of this,” the spokesperson said.
“As we continue to learn more about where some of this money went, it is even more apparent how far-reaching and
widely accepted this waste and abuse has been.”

Minneapolis Star Tribune: EPA restores Minnesota’s access to $200 million carbon cutting plan
An EPA spokesperson confirmed in an email to the Minnesota Star Tribune that the agency’s grant funding from the
Inflation Reduction Act and the Bipartisan Infrastructure Law “is now accessible to all recipients.”

WNWO (NPR, New Orleans): EPA says it has unfrozen billions in funds for climate-related projects
“EPA worked expeditiously to enable payment accounts for IA and IRA grant recipients, so funding is now accessible to
all recipients,” the spokesperson wrote in an email.

EPA_00298993
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 15 of 143

The New York Times: As the E.P.A. Withers, Will Its Museum Follow?

In a city where world-class masterpieces sit in marble temples that line the National Mall, the small museum devoted to
the work of the Environmental Protection Agency, tucked away in a federal building near the White House, has not
exactly inspired much fanfare. But as President Trump and Elon Musk slash and burn their way through Washington’s
federal bureaucracy, this humble tribute to the E.P.A.’s mission of curbing pollution and fighting climate change
somehow remains open — perhaps as a symbol of resilience, possibly because nobody knows that the museum exists.

FULL ARTICLES

AP: EPA backtracks on Trump comment about cutting staff by 65% but says major spending cuts are coming
Despite a comment by President Donald Trump, the Environmental Protection Agency does not plan to reduce its staff
by 65%, the White House and the agency said Thursday, though major budget cuts are likely.

A White House spokeswoman said the 65% figure referred to expected spending cuts at the agency, rather than staffing
levels, acomment that was amplified by EPA Administrator Lee Zeldin.

“We don’t need to be spending all that money that went through the EPA last year,” Zeldin told Fox News on Thursday.
“We don’t want it. We don’t need it. The American public needs it and we need to balance the budget.”

President Joe Biden requested about $10.9 billion for the EPA in the current budget year, an increase of 8.5% over the
previous one, but Zeldin said the agency needs far less money to do its work. He also criticized EPA grants authorized
under the 2022 climate law, including $20 billion for a so-called green bank to pay for climate and clean-energy
programs.

Zeldin has vowed to revoke contracts for the still-emerging bank program that is set to fund tens of thousands of
projects to fight climate change and promote environmental justice.

Trump's EPA nominee stays vague on plans as senators press him on climate views

“lam saying to Congress and to the American public, please don’t send us tens of billions of dollars to spend this year,”
Zeldin said in the Fox interview.

White House spokeswoman Taylor Rogers said Thursday that “President Trump, DOGE, and Administrator Zeldin are
committed to cutting waste, fraud, and abuse.”

Zeldin “is committed to eliminating 65% of the EPA’s wasteful spending,” she added.

The head of the EPA’s largest union called the comments by Trump and Zeldin “disheartening” and said there is ”a lack
of leadership within the EPA.”

Marie Owens Powell, president of the American Federation of Government Employees Council 238, said she was
saddened by the “carelessness” of Trump’s remarks Wednesday at a White House Cabinet meeting. A 65% reduction in
staffing would be devastating to the agency and its mission, Powell said, adding that Trump’s widely publicized
comments put EPA employees “in a tailspin.”

The EPA had 15,123 full-time employees as of last December, according to the latest budget. A reduction of 65% would
mean the loss of nearly 10,000 jobs.

Efforts by Zeldin and the White House to clarify that Trump was referring to budget cuts — rather than staffing cuts —
offer little comfort, Powell said. Such a large spending cut would require major staffing reductions for jobs such as
monitoring air and water quality, responding to natural disasters and lead abatement, among many other agency
functions, she said.

“Frankly, | don’t know if we believe it,”" she said of administration efforts to explain away Trump’s comments. Powell
cited a White House memo circulated this week that directs federal agencies to develop plans for eliminating thousands

EPA_00298994
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 16 of 143

of employee positions and consolidating programs. Such an effort would be devastating to the EPA and other federal
agencies, Powell said.

Democrats and environmental groups rushed to defend the EPA’s mission, saying huge budget cuts would be disastrous.

“Gutting the agency by 65% will leave polluters unchecked, contaminating clean air, water and public health, and all but
guaranteeing greater risk for vulnerable populations like children and the elderly,” said Lauren Pagel, policy director of
the environmental group Earthworks.

She called on Congress and the courts to “stop this reckless, ideological sabotage of the EPA.”

Rhode Island Sen. Sheldon Whitehouse, the top Democrat on the Senate Environment and Public Works Committee,
said recent layoffs at EPA, coupled with Zeldin’s comments about sharp spending cuts, show he had no intent to follow
through on a pledge during his confirmation hearing to work collaboratively with EPA’s staff.

“It is now clear that the fix was in from the very beginning, to help the looters and polluters who bankrolled President
Trump’s campaign,” Whitehouse said.

Newsmax: Lee Zeldin to Newsmax: EPA Budget Can Spare Tens of Billions
Environmental Protection Agency Administrator Lee Zeldin told Newsmax on Thursday that he has a message for
Congress: Do not fund the EPA in 2025 the way you did in 2024.

In fact, Zeldin said the agency can run on 65% less.

"| don't want it. We don't need it. The American taxpayer needs it. That's our message to Congress," Zeldin said on "Rob
Schmitt Tonight."

Zeldin announced earlier this week the cancellation of nearly $61 million in grants, bringing total taxpayer savings to
$171 million in a month. Two weeks before that, Zeldin announced the agency found $20 billion "parked at a financial
institution by the Biden-Harris administration."

"| have zero tolerance for any waste and abuse, and | want EPA to be operating as efficiently as possible," Zeldin said.
"That means looking at grants and contracts, travel expenditures, real estate footprint and staff, too. We're looking at
everything."

Zeldin highlighted $2 billion that the Biden administration gave to a climate group connected to former Georgia
Democrat gubernatorial candidate Stacey Abrams.

"| read the grant agreement. On page 7, it gives the NGO 90 days to complete a training called 'How to develop a
budget.' If they need to complete a training called 'How to develop a budget,’ how do you give them 82 billion?"

Bottom line, Zeldin called the operation criminal.

"Self-dealing, conflicts of interest, a lack of qualifications. And on top of it, it was done in a way where EPA was
deliberately tying one hand behind its back to limit oversight. | think this is something the entire scheme should be
investigated as criminal," he told Schmitt.

The Washington Post: FBI investigating Trump EPA claims of fraud in $20B Biden grant fund

FBI agents this week questioned Environmental Protection Agency employees regarding a Biden administration grant
program for climate and clean-energy projects, escalating a criminal probe that already caused one veteran prosecutor
to resign, according to two people familiar with the matter.

The move came after the Justice Department in recent weeks took unusual steps to advance the investigation, having a
Trump-appointed U.S. attorney submit a warrant request when career prosecutors were unwilling and seeking

EPA_00298995
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 17 of 143

prosecutors in other offices who would agree to participate in the case, people familiar with the matter said, speaking
on the condition of anonymity to disclose internal deliberations about an ongoing criminal investigation.

At issue are grants totaling $20 billion under the Greenhouse Gas Reduction Fund, a program established in President
Joe Biden’s signature 2022 climate law. The fund seeks to leverage public and private dollars to invest in clean-energy
technologies such as solar panels, heat pumps and more, including through community lenders in low-income areas. The
Trump-appointed EPA administrator has alleged publicly that the money was awarded with little oversight and said the
agency would try to claw back the money from Citibank, which was tasked with disbursing the funds.

The administration ran into its first roadblock in that effort last week, when a senior career prosecutor in the U.S.
attorney’s office in D.C. resigned rather than carry out the administration’s demand to freeze the funds over possible
wire fraud. But the investigation did not end there, according to people familiar with the matter.

Interim U.S. attorney Ed Martin then personally submitted a seizure warrant application without any other prosecutors
in his office that was rejected by a U.S. magistrate judge in D.C., who found that the request and accompanying FBI
agent affidavit failed to establish a reasonable belief that a crime occurred, three of the people said.

Meanwhile, acting deputy attorney general Emil Bove’s office approached at least one other U.S. attorney’s office in the
southeastern United States to launch a grand jury investigation and seek a court-ordered bank freeze, but prosecutors in
the office again refused the warrant request, two of the people said. It is not clear whether more evidence has since
been obtained or if a warrant was granted elsewhere. But at least three groups that had been awarded money said their
accounts have been frozen, and the bank won’t tell them why.

Stefan D. Cassella, a former federal prosecutor whose writings on asset forfeiture and money laundering are used widely
by judges, prosecutors and defense attorneys, said the moves were atypical.

“It’s certainly unusual for any case to involve two different U.S. attorney offices declining a case for lack of probable
cause and to have the Department of Justice continue to shop it. That’s very unusual. And certainly it would be unusual
to continue to shop it after a judge turned it down,” he said. “You can’t seize a truck, you can’t seize a backpack, you
can’t seize a pair of socks without probable cause.”

The DOJ-initiated FBI investigative activity was confirmed by one person briefed on the matter and a second with direct
knowledge. One said agents sought information regarding spending under the two components of the Biden “green
bank” grant initiative, the National Clean Investment Fund and the Clean Communities Investment Accelerator
programs, which seek to finance clean-technology and clean-energy projects.

Citibank — which holds the accounts for the programs — declined to comment for this article, as did the FBI’s
Washington field office. A Justice Department spokesman said, “Per our usual policy, the department declines to
confirm or deny the existence of an ongoing investigation.” An EPA spokesperson repeated department administrator
Lee Zeldin’s allegations.

“When we learned about the Biden administration’s scheme to quickly park $20 billion outside the agency, we
suspected that some organizations were created out of thin air just to take advantage of this,” the spokesperson said.
“As we continue to learn more about where some of this money went, it is even more apparent how far-reaching and
widely accepted this waste and abuse has been.”

The events began to unfold Feb. 12, when Zeldin said the agency would try to claw back the $20 billion and terminate its
contract with Citibank for disbursing the funds. Zeldin claimed the Biden administration had awarded the money in “a
rush job with reduced oversight,” although he did not provide any specific evidence of abuses.

The EPA chief cited a secretly recorded video from Project Veritas, a right-wing group known for its undercover sting
operations, in which an EPA official said the Biden administration was “trying to get the money out as fast as possible

EPA_00298996
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 18 of 143

before they come in and stop it all. ... It truly feels like we’re on the Titanic and we’re throwing, like, gold bars off the
edge.”

About a week later, on Feb. 18, the head of the criminal division in the U.S. attorney’s office in D.C. resigned after
declining to order Citibank to freeze the accounts. Denise Cheung wrote in her resignation letter that the criminal
investigation sought by Bove and Martin was unfounded.

She added that Martin overruled her judgment that there was insufficient evidence of a crime to order a bank freeze.
Cheung wrote that Bove’s office and Martin pressed her to act on Presidents’ Day, Feb. 17, a federal and banking
holiday.

A government effort to essentially seize billions of dollars in grants awarded by the government by preventing their
release is “extraordinary and probably unprecedented,” whether done voluntarily by the bank at government request or
ordered through a court-approved seizure warrant, said Cassella, the asset forfeiture and money laundering expert. A
freeze on all the green grant funds would eclipse by far the U.S. government’s largest confirmed financial seizure, when
it froze stolen bitcoin worth more than $4 billion in 2022.

While it is not unusual for the FBI or EPA’s internal watchdog agency to investigate the spending of taxpayer dollars,
ordering a bank to freeze accounts without adequate evidence or legal basis would be a misuse of the Justice
Department’s powers of criminal investigation, he said.

“To seize bank accounts without probable cause would be illegal” and “a misuse of asset forfeiture laws,” Cassella said.
“That’s why prosecutors in D.C. responsibly refused to do it.” He added, “That doesn’t mean they didn’t turn up new
evidence ... and a warrant would be appropriate, but we don’t know that.”

Three grant recipient organizations told The Washington Post they have been unable to draw funds from their Citibank
accounts in the past two weeks with no explanation from the bank or the EPA, affecting their ability to pay workers and
expenses.

A spokeswoman for the Climate United Fund — a coalition of nonprofit groups that received the largest grant award,
nearly $7 billion — said its account has been frozen since Feb. 18, the day Cheung’s resignation became public. She said
the organization hasn’t received a response to several letters and is considering all of its options.

Spokespeople for the Coalition for Green Capital and Justice Climate Fund — which received $5 billion and $940 million,
respectively — said they had received no explanation about why their accounts were frozen. Justice Climate Fund
claimed its account was frozen Feb. 14, the Friday before Cheung resigned. The three groups are among eight grant
recipients to whom the EPA has awarded $20 billion to invest in tens of thousands of projects to fight climate change
and promote environmental justice.

Federal asset seizure and forfeiture actions with banks typically unfold in several stages. U.S. prosecutors can covertly
investigate a matter, requesting information from a bank — usually with a subpoena from a grand jury. To freeze or
seize a bank account, however, they need a warrant issued by a judge. Under limited, emergency circumstances, they
can ask a bank to freeze an account temporarily while a seizure warrant is sought under seal, but they still need
probable cause.

Finally, the government can go forward with publicly filed charges or a criminal or civil forfeiture action. Any warrant or
court-ordered freeze requires probable cause and notice to the account owner in 60 days, Cassella said.

For liability reasons, a bank usually is eager to explain if its action against a customer is at government order. Absent
such notice, it is up to the account holder to challenge the action in court if it wants answers or its money.

In her letter, Cheung said she and the FBI Washington field office agreed that it could write to the bank recommending a
30-day administrative freeze on the assets, but not compel it as part of a criminal investigation. Cheung said she wrote

EPA_00298997
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 19 of 143

to the FBI that her office believed there may be “potential violations” of federal wire fraud and conspiracy statutes
meriting additional investigation, but that the probable cause standard for ordering a freeze had not been met.

Meanwhile, the former EPA official in the Project Veritas video, Brent Efron, was contacted last week by the EPA’s
inspector general’s office and on Monday by an FBI agent from Washington at the request of Miami federal prosecutor
Joshua Paster, deputy chief of an asset forfeiture unit with the southern district of Florida, according to a person familiar
with the matter. The Miami office is at least the third U.S. attorney’s office asked to take part in the investigation. It was
not clear if Paster would remain on the case, the person said.

Spokespeople for the U.S. attorney’s offices in D.C. and Miami declined to comment.

Efron’s lawyer, Mark Zaid, said in an interview that his client “doesn’t know what this is about, and that he was never
involved in the obligation or disbursement of funds from any EPA assistance program, including NCIF and CCIA [held at
Citibank]. And he was not involved in any conversations about EPA and Citibank.”

Testifying Wednesday before a House Energy and Commerce oversight subcommittee, EPA acting inspector general
Nicole N. Murley said her office also was reviewing spending under the law that created the grant program, adding that
EPA’s push to meet statutory deadlines raised concerns over the proper vetting of grant recipients, proposed projects
and the monitoring of funds.

Murley’s office has jurisdiction to investigate fraud, waste and abuse at the EPA — including potential violations of
federal fraud, theft and money laundering laws — and is typically the entity to investigate the agency’s own spending.

Conservative groups with ties to the fossil-fuel and mining industries praised the EPA’s action.
“The Biden administration intended to use a large part of that $20 billion to fund leftist activist groups,” said Myron

Ebell, a former Trump EPA transition adviser who chairs the American Lands Council, which seeks the transfer of federal
land to states, and who has called for repealing the central scientific finding for U.S. action against climate change.

Martin, the U.S. attorney in D.C., also posted about the Climate United Fund before taking office, saying in October,
“Insanity: $6.7 billion given to Green activists by Biden to disburse to others. Total graft. Needs to be stopped.
@elonmusk better look at this one as DOGE king.”

After Zeldin’s announcement this month, the U.S. DOGE Service, a group billionaire Elon Musk oversees that aims to
slash the size of the federal government, praised him on X for an “awesome job” on saving taxpayer money.

Minneapolis Star Tribune: EPA restores Minnesota’s access to $200 million carbon cutting plan
The state of Minnesota can move ahead with a $200 million plan to cut its carbon emissions after the Trump
administration restored access to the federal grant.

Last week, the Minnesota Pollution Control Agency (MPCA) said the federal spending freeze had blocked its access to
grants through the U.S. Environmental Protection Agency.

“As of right now they appear to be available to us,” MPCA Commissioner Katrina Kessler said of the grants on Tuesday.

An EPA spokesperson confirmed in an email to the Minnesota Star Tribune that the agency’s grant funding from the
Inflation Reduction Act and the Bipartisan Infrastructure Law “is now accessible to all recipients.”

Those laws — passed under President Joe Biden — made hundreds of billions of dollars in federal grants, loans and tax
incentives available for projects that seek to address climate change, including at least $25 billion distributed by the EPA.

EPA_00298998
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 20 of 143

Minnesota’s $200 million will fund a slew of initiatives, including protecting and restoring more than 10,000 acres of
peatlands, reducing food waste and improving the health of farm soil, allowing it to absorb more airborne carbon
dioxide.

The EPA’s move to reinstate federal funding is the latest reversal by the Trump administration, adding to an already
chaotic month marked by mass layoffs and resignations in the federal government. Following executive orders by
President Donald Trump aimed at undoing much of his predecessor’s environmental legacy, the EPA fired nearly 400 of
its employees earlier this month, only to rescind the decision for some of those staffers a week later.

The EPA grants are just part of the larger pool of money from the Inflation Reduction Act, and many other federal
environmental grants going to Minnesota remain frozen or otherwise obstructed. That has sown confusion among state
agencies, tribal governments and nonprofits that worry the money they’ve already been awarded won’t be made
available.

Trump’s “executive orders make it clear that these types of funds are supposed to be scrutinized and clawed back by the
federal government,” Kessler said. “So, we feel very concerned over the fate of these in the long term.”

Federal grants are typically administered on a reimbursement basis, meaning some recipients haven’t received payment
for work already done.

“| just want to be reimbursed for the work that we did,” said Ellen Reed, executive director of Mississippi Park
Connection, a Twin Cities nonprofit that helps maintain the tree canopy of the Mississippi National River and
Recreational Area, part of the National Park Service.

Reed said her organization was awarded more than $2.6 million in grants from the U.S Interior Department and the U.S.
Department of Agriculture but has only received about $450,000 so far. The reimbursement account holding the funds,
which are meant to last Mississippi Park Connection five years, is no longer accessible, she said.

Tree Trust, another Twin Cities nonprofit that specializes in tree planting, lost its $500,000, three-year grant last week,
when the U.S. Forest Service — part of the USDA — rescinded a grant awarded to the Arbor Day Foundation, which
acted as an intermediary for the Forest Service.

“The funding was not frozen, the contract was officially terminated between the USDA Forest Service and the Arbor Day
Foundation, which therefore terminated our contract with them,” Karen Zumach, director of community forestry for
Tree Trust, told the Star Tribune.

The city of Minneapolis was also awarded a USDA grant to remove dead trees from low-income residential properties.
City officials are waiting on reimbursement for more than $140,000 for the program, which they said has been popular
among residents.

“A lot of these removals can be hundreds to tens of thousands of dollars,” said Sydney Schaaf, who manages the
program for the Minneapolis Health Department. “We just heard from so many participants ... folks in really stressful
financial situations, who are at risk of losing their homes.”

In total, the Forest Service had awarded $1.5 billion in Inflation Reduction Act funding to municipalities, state
governments and nonprofits across the country to help replace dead and hazardous trees in urban areas. The Minnesota
Department of Natural Resources was awarded $5.25 million from that program. And the Forest Service awarded
another $33.44 million in competitive grants to go directly to Minnesota nonprofits, local governments and private
companies.

The Minnesota DNR has so far requested reimbursement of $200,000 under that grant but has yet to receive payment
from the USDA, the agency said this week. In a statement to the Star Tribune, the USDA said it couldn’t provide details
on its grants awarded to Minnesota but expressed support for Trump’s directives to “eliminate inefficiencies” in the
federal government.

EPA_00298999
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 21 of 143

“The Trump administration rightfully asked for a comprehensive review of all contracts, work and personnel across all
federal agencies,” the USDA statement said.

Inflation Reduction Act funding, especially money tied to climate and environmental justice efforts, has become a key
target of Trump’s spending cuts.

But recipients of the Forest Service grants say their work is not a partisan issue and has broad community support.

Minnesota stands to lose 1 billion ash trees to emerald ash borers, an invasive species of beetle native to eastern Asia
that typically kill an infected tree within three years, according to the DNR. State officials have found infestations in
more than half of Minnesota’s counties.

“Trees are not political,” said Kateri Routh, executive director of Great River Greening, a St. Paul-based nonprofit that
was awarded a $10 million grant from the Forest Service in 2023. “This is something that when we came out with this
grant, people were thrilled. They want to have trees in their neighborhood.”

Great River Greening had planned to use the money to plant 10,000 trees over five years, spanning five cities and three
public school districts. Faribault, Owatonna, St. Cloud, Brooklyn Center and St. Paul had all worked with the nonprofit to
replace dead trees. Routh said that work has now been put on hold. The nonprofit is down more than $225,000 waiting
for repayment from the Forest Service, she said.

Routh said the funding pause has created major complications in their plans, which often involve tight deadlines with
local tree nurseries. The city of St. Paul had recently removed dead and infected ash trees on public school property.

“They had to remove hundreds of dead ash trees and then had no money to replace them,” Routh said. “So, these are
school campuses where students are out there just playing in the beating sun.”

Schools in Brooklyn Center and Osseo have also had to halt their dead tree removal and replacement, Routh said.

“Right now, they still have dead standing ash trees on their campuses ... which are a huge, huge risk,” she said. “Without
these dollars coming back into play, those trees are going to stay out there, and they’re going to come down in storms.”

In 2019, the Legislature approved $1 million in state funding to help combat emerald ash borers, but state officials say
it’s a fraction of what’s needed. Replacing dead or infected trees also helps Minnesota address climate change,
according to the state’s Environmental Quality Board.

“Not only could Minnesota lose one billion ash trees in our forests, but over one million acres of forests could convert to
non-forest ecosystems and sequester far less carbon over the long term,” the agency wrote on its website.

WNWO (NPR, New Orleans): EPA says it has unfrozen billions in funds for climate-related projects

The U.S. Environmental Protection Agency has unfrozen all grant funding from the Inflation Reduction Act and the
Infrastructure and Investment and Jobs Act, a spokesperson for the organization confirmed in an email to Floodlight late
Wednesday afternoon. “EPA worked expeditiously to enable payment accounts for IIJA and IRA grant recipients, so
funding is now accessible to all recipients,” the spokesperson wrote in an email.

The announcement appears to release almost $100 billion allocated by Congress under the Biden administration to fight
climate change by reducing greenhouse emissions through a large-scale transformation of the U.S. energy system.

A spokesperson for a Nevada nonprofit confirmed it has been able to begin accessing the $156 million it was set to
receive under the EPA’s Solar for All program.

EPA_00299000
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 22 of 143

The $7 billion program provides funding to states and nonprofit groups to offer solar power to households in low-
income and disadvantaged communities through grants and loans. The aim is to help ease annual utility costs and meet
climate goals.

"As of Thursday we've been able to draw down our funds,” said Kirsten Stasio, chief executive officer for Nevada Clean
Energy Fund. “It's unclear if a freeze will be reinstated in the future, but this is a positive sign."

The funds were frozen almost immediately after Jan. 20, the day Donald Trump took office for his second term as
president and issued a series of executive orders seeking to halt climate-related funding and declaring an “energy
emergency” aimed at boosting fossil fuel production.

The executive orders were quickly followed by a Jan. 29 memo from the Office of Management and Budget (OMB)
freezing trillions of dollars in federal financial assistance as part of a government-wide “review” of spending. At least two
federal judges, one in Rhode Island and another in Washington, D.C., issued temporary restraining orders barring the
Trump administration from freezing the funds. The OMB memo was rescinded on Feb. 3.

In the wake of the rulings and the memo’s withdrawal, some funds started to flow again, but billions of dollars tied to
the two signature pieces of legislation of the Biden era remained on ice. On Feb 10, U.S. District Judge John J. McConnell
Jr. of Rhode Island found that the administration had continued to freeze funds despite his temporary restraining order.

That seems to have changed — at least at the EPA. The change in policy comes a day after U.S. District Judge Loren
AliKhan in Washington, D.C., issued a preliminary injunction against the Trump administration, barring it from continuing
its funding freeze in any form.

“To be sure, the government is normally entitled to a presumption of good faith on voluntary cessation,” AliKhan wrote
in her order. “But the court will not confer that presumption when the government says one thing while expressly doing
another. And it will not reward parties who change appearances without changing conduct.”

Sidney Hill, spokesperson for the New Mexico Energy, Minerals and Natural Resources Department, confirmed the state
now has access to the $156 million grant it received under the Solar for All program.

Hill explained the state hasn’t done enough work to begin applying for reimbursement payments through the program.
But like other recipients, it had been locked out from doing so when the freeze began, he said.

"We can actually access the payment system now, but we haven't applied for any reimbursements yet,” Hill said. ”But
the system is back open to us to do so."

The New York Times: As the E.P.A. Withers, Will Its Museum Follow?

In a city where world-class masterpieces sit in marble temples that line the National Mall, the small museum devoted to
the work of the Environmental Protection Agency, tucked away in a federal building near the White House, has not
exactly inspired much fanfare. But as President Trump and Elon Musk slash and burn their way through Washington’s
federal bureaucracy, this humble tribute to the E.P.A.’s mission of curbing pollution and fighting climate change
somehow remains open — perhaps as a symbol of resilience, possibly because nobody knows that the museum exists.

The National Environmental Museum and Education Center, as the E.P.A. museum is known, opened in 2024 on the
ground floor of the imposing William Jefferson Clinton Building North on Pennsylvania Avenue. The space is small but
bright, in contrast with the drab exhibit in a nearby federal building that served as a beta version of the museum while
the permanent one was being designed.

With the Trump administration threatening potentially huge staff and budget cuts, the museum could soon come to
serve as a testament to a hobbled, diminished agency.

EPA_00299001
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 23 of 143

Displays include the pen that President Lyndon B. Johnson used to sign amendments to the Clean Air Act in 1967; a
bottle of “100 Percent Authentic Undiluted Polluted” water (a gag, presumably) from Boston’s notorious harbor, which
was finally cleaned up in the 1990s; a scratched gray seat from a New York City subway car, to illustrate testing that
E.P.A. scientists conducted in 2020 to learn whether the coronavirus spread on surfaces; the second issue of The E.P.A.
Journal, with a moody cover image of sunlight bursting through a thicket of trees; and the first edition of “Silent
Spring,” Rachel Carson’s landmark account of the widespread harm caused by the pesticide DDT.

“It was really a labor of love,” said Stan Meiburg, who served as acting deputy E.P.A. administrator from 2014 until 2017.
Dr. Meiburg recalled that the inspiration for a tribute to the E.P.A.’s work came after Gina McCarthy, the E.P.A.
administrator at the time, toured an environmental museum during a 2015 visit to Japan. “That was really all it took,”
Dr. Meiburg recalled in an interview. “People were tremendously enthusiastic about it.”

Some still are. State Senator Nate Blouin, Democrat of Utah, was in Washington last summer, with a little time before his
flight back home, when he “stumbled across” the museum — and found himself delightfully surprised. “| thoroughly
enjoyed wandering through the space and even came across an exhibit that gave a shout-out to Salt Lake City’s public
bike program,” Mr. Blouin wrote in an email. “It would be a shame to see the work that was already done honoring the
country’s environmental achievements be scrapped over political posturing.”

What may be posturing to Mr. Blouin has been a show of force to Mr. Trump and his supporters. A short walk from the
Clinton North building is what used to be the headquarters of the U.S. Agency for International Development, which in
January became the first target of Mr. Musk and his so-called Department of Government Efficiency. The agency’s
headquarters have been shuttered, with signage either covered up or removed, its work force thrown into chaos.
Agencies across the executive branch are facing similar cuts, as well as mandates to comply with the president’s
executive order to cancel all diversity initiatives — and an administration-wide initiative to remove references to climate
change in agency communications, including websites.

Lee Zeldin, the new E.P.A. administrator, is a close ally of President Trump who ran unsuccessfully for the New York
governorship in 2022 and has no evident experience in environmental conservation. Mr. Zeldin has canceled some S60
million in contracts tied to what a news release described as “wasteful D.E.I. and environmental justice initiatives,” using
an abbreviation for diversity, equity and inclusion. The agency’s new “Powering the Great American

Comeback” initiative aims to promote automotive manufacturing, artificial intelligence capacity and energy production
— goals not generally considered to be within E.P.A.’s purview. Mr. Zeldin also celebrated the president’s renaming of
the Gulf of Mexico as “the Gulf of America” by promptly changing the name of the E.P.A.’s division focused on that
region.

Mr. Zeldin has expressed eagerness to work with Mr. Musk, praising recent federal dismissals, and has hired industry
figures, including a formaldehyde lobbyist, to the top ranks of the E.P.A.

Still, an official who works at the E.P.A.’s headquarters was cautiously sanguine. “I think I’m still feeling out new
leadership,” the official said, requesting anonymity because he was not authorized to speak to the press. He said that
the new E.P.A. officials had not been “quite as openly cruel and dismissive” as new political appointees in other agencies
— or the E.P.A. appointees who served during Mr. Trump’s first term.

E.P.A. press officials did not respond to a request to comment.

Even as pillars of the federal government topple around it, the small E.P.A. museum stands. Access is free, but not
without barriers. First, there is the entrance door, so heavy and unyielding that it is all too easy to assume that the
building is closed. Eventually, a gesticulating guard indicates otherwise. Inside, an airport-style security check awaits,

with separate bins for laptops and bags — this is, after all, a federal building.

For better or worse, there is no gift store.

EPA_00299002
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 24 of 143

Ona recent afternoon, the E.P.A. played host to half a dozen or so students from the George Washington University.
Their professor, a public health expert, stood near the museum’s entrance handing out worksheets. Inside, the students
were greeted with a story that had unfurled largely before they were born: the creation of the E.P.A. by President
Richard M. Nixon in 1970; the Love Canal toxic waste crisis of 1978, in western New York, which gave rise to the
Superfund remediation program; the 1982 protest in Warren County, N.C., against the dumping of contaminated soil in
a Black community; the federal response to the Deepwater Horizon oil well blowout off the coast of Louisiana in 2010.

Perhaps understandably, the displays don’t have much to say about the chronic underfunding of the Superfund
program. Nor about the numerous controversies that saw Scott Pruitt, Mr. Trump’s first E.P.A. administrator, forced out
of his position in 2018.

Dr. Meiburg, the former E.P.A. official, said he hoped that the Trump administration would realize Republicans and
Democrats alike needed clean air and water — and that the president’s relentless cost cutters would keep the E.P.A.
museum open because it was a testament to that work. “You keep this museum because it tells the actual story,” he
said. “It’s not a partisan story.”

TV CLIPS

Fox Business: The Evening Edit
EPA Administrator Lee Zeldin joins ‘The Evening Edit’ to discuss EPA spending initiatives and potential reforms.

Newsmax: Rob Schmitt Tonight
EPA Administrator Lee Zeldin discusses spending cuts at the EPA and efforts to slash wasteful spending.

EPA_00299003
2:25-Cv-02152-RMG

Date Filed 04/21/25 = Entry Number 131 Page 25 of 143

Message

From: Atkinson, Emily [Atkinson.Emily@epa.gov]

Sent: 2/18/2025 10:11:32 PM

To: Voyles, Travis [voyles.travis@epa.gov]

Subject: 2/19/25 Calendar (Travis Voyles)

Attachments: Cargill CEO Bio.docx; Cargillt+Atta+Glance+one-pagert+-+Feb+2025+v6.pdf; OMS Executive Briefing Memo EJ

Reconsiderations - FINAL.docx; 2-10-2025 - EJ Position Reconsideration Request with OHCO Response.HEWA.xlsx;
Lapse Guidance Briefing 2025_shared post OCFO briefing_v4 1.pptx; Updated 2-18-25 OMS Executive Briefing Memo
- Restoring Accountablity for Career Senior Execuitves - ERB_PRB Membership Options 2-14-25 OMS version3.docx;
2-13-2025 - SES Briefing.pptx; SES_SL_ST_One Page.pdf; SES General and CR Positions FINAL.docx;

NEPA_EIS_ Permitting Transmission Lines_Feb 17 2025.docx; Section 404 of CWA_Permitting Transmission Lines_Feb

18 2025.docx; Administrator's Daily Reading File - February 18, 2025; Administrator's Reading File.2.18.25.pdf;

ATT45154; ATT53197; ATT04353; ATT67846; ATT42840; ATT49009; ATT86216; ATTS4948; ATT14070; ATT36875;
ATT53035; ATT05274; ATT66355; ATT78992; ATT53892; ATT40747; ATTS8459; ATT87778; ATT92925; ATT32652;
ATT65866

Administrator's Daily Reading File - February 18, 2025

Administrator's
Daily Reading Fil...

Wed, Feb 19

wm

POF

Administrator's
Reading File.2.1...

7:30 AM — 8:00 AM
8:00 AM — 9:15 AM
9:15 AM — 9:45 AM

9:45 AM — 10:00 AM
10:00 AM — 11:00 AM
11:00 AM — 11:15AM
11:15 AM — 11:30 AM
11:30 AM — 12:00 PM

12:00 PM — 12:45 PM

12:45 PM - 1:00 PM
1:00 PM — 1:30 PM

1:30 PM — 2:20 PM

Contract/Grant Review
Free
Meeting w/ Robert McBride

G o

Section 404 of NEPA _EIS Per...
CWA Permitting... Transmission Lin...
Free
Leadership Check-In
Check In with Jeffrey Hall, OECA
Free
Briefing on SES, OMS

1 L 1

o or u o

SES Generaland SES SL_ST_One  2-13-2025-SES Updated 2-18-25
CR Positions FIN... Page.pdf Briefing.pptx OMS Executive ...

Bi-Weekly with the Office of the Chief Financial Officer (OCFO) || Topic:
Lapse in Appropriations

Lapse Guidance
Briefing 2025_ sh...

Free
Discuss EJ Reconsiderations, OMS
2-10-2025 - EJ OMS Executive

Position Reconsi... Briefing Memo E...

Free

EPA_00299004
ml

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 26 of 143

2:20 PM — 2:25 PM

2:25 PM — 2:30 PM

2:30 PM — 3:30 PM

3:30 PM — 4:30 PM
3:30 PM — 4:30 PM
4:30 PM — 5:30 PM
5:30 PM — 5:45 PM

Meeting w/ Cargill
Ls

ue

CargilltAtta+Gla... Cargill CEO
Bio.docx

Free

EXTERNAL: In Person: Meeting with National Pork Producers Council,
National Milk Producers Federation, US Poultry and Egg Association and
the United Egg Producers (Confirmed)

Cost of Living Huddle

Meeting on OW Priority Issues

Free

EPA Day 1 EO Implementation Huddle

EPA_00299005
2:25-Cv-02152-RMG

<7 EPA

Date Filed 04/21/25

25-

01968-AO-EX

Entry Number 131 Page 27 of

143

QUILL

Ot aa larel ay: lami elantexe) @ @xole laa

Contact/s:

Instructions:

Signature:

Addressee:

Assigned to:

File Code:
DIES
Status:
Letter Date:
Received:

Created By:

Date Signed:

Closed:

History:

Name

Organization

Cyrus Javadi

Oregon Legislative Assembly

RA-R10-Prepare draft response for signature by the Regional Administrator for Region 10.

RA-R10-Regional Administrator

AD-Administrator

R10-Correspondence Team

301_1051_a Records of Senior Officials - Historically significant records of senior officials

YaST m=) OSM Ae)
Response Creation

13-Feb-25

14-Feb-25 5:33 PM

Service SVC_Quill

Date & Time
14-Feb-25 5:33 PM
18-Feb-25 4:21 PM

18-Feb-25 6:59 PM
18-Feb-25 6:59 PM

Printed: 18-Feb-25 7:00 PM

CC: AOQ-OCIR-RMOD, OLEM-OMIS

Action Taken
Created from email from
Priority change to Normal (14
days)
Approval set to Approved
Task completed with Decision =
Approved

Action Taken By

Cynthia Gaines

Kristy Miller
Kristy Miller

Page 1 of 1

EPA_00299006
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 28 of 143

From: EPAExecSec <EPAExecSec@epa.gov>
Sent on: Friday, February 14, 2025 2:26:47 PM
To: Quill <Quill@epa.gov>

Subject: FW: CERTA Funding in Tillamook County
Attachments: CERTA Funding Letter to President Trump.pdf (594.67 KB)

Reading file

From: Rep Javadi <Rep.CyrusJavadi@oregonlegislature.gov>
Sent: Thursday, February 13, 2025 2:34 PM

To: Zeldin, Lee <Zeldin.Lee@epa.gov>

Subject: CERTA Funding in Tillamook County

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Dear Mr. Lee,

| hope this message finds you well. |am reaching out as a Republican state legislator representing Oregon’s
coastal communities to express serious concern about the recent freeze on CERTA funding, which was
designated for critical energy-efficient housing projects in Tillamook County.

| have attached a formal letter outlining the issue, but to summarize:

e Tillamook County was set to receive $3.78 million in CERTA funds to support 180 new housing units in
Manzanita, Rockaway Beach, and Tillamook.
e These projects were designed to provide much-needed workforce and affordable housing while
improving energy efficiency in our coastal communities.
e The funding freeze has put these developments at risk, despite their alignment with conservative
principles of economic growth, local investment, and long-term sustainability.
| urge your office to review this decision and explore ways to restore these funds so that our communities are
not left behind. Housing shortages remain a top concern for Oregonians, and this investment was a step toward
a practical, forward-thinking solution.
| would appreciate the opportunity to discuss this matter further and explore possible solutions. Please let me
know a convenient time to connect.
Thank you for your time and consideration.
Best regards,

Cyrus Javadi DDS

Oregon State Rep. HD-32 | Tillamook County, Clatsop County, City of Clatskanie
Capitol Office: (503) 986-1432

Cell Phone: (503) 801-5363

Please note that all email sent to and from this account is subject to disclosure under public
records laws, and may be viewed by HD-32 legislative staff.

EPA_00299007
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 29 of 143

CYRUS JAVADI, DDS

STATE REPRESENTATIVE
DISTRICT 32

HOUSE OF REPRESENTATIVES

February 13, 2025

The Honorable Donald John Trump
President of the United States of America
The White House

1600 Pennsylvania Avenue, N.W.
Washington, DC 20500

Dear Mr. President,

I am writing to express deep concern regarding the recent freeze on CERTA funding, which was
set to support energy-efficient housing projects in Tillamook County, Oregon. This funding is
critical to addressing both our housing shortage and the need for more resilient, energy-efficient
housing in coastal communities.

Tillamook County was allocated $3.78 million to help develop 180 much-needed housing units
across Manzanita, Rockaway Beach, and Tillamook. These projects were carefully planned to
provide affordable, energy-efficient housing for working families, seniors, and others struggling
with the region’s housing crisis. The sudden halt in funding has put these developments in
jeopardy, leaving our communities uncertain about their future.

As a Republican, I believe in responsible fiscal policy, but I also recognize that strategic
investments in housing infrastructure strengthen local economies, reduce government
dependence, and provide stability for working families. Oregon’s coastal towns already face
significant challenges from rising housing costs and a lack of workforce housing. CERTA
funding was a step toward addressing these issues in a way that aligns with conservative
principles—supporting economic growth while ensuring housing remains accessible and
efficient.

I urge you to reconsider this funding freeze and allow these projects to move forward as
planned. Ensuring our communities have the necessary resources to thrive is a priority I know
we both share.

I appreciate your attention to this matter and would welcome the opportunity to discuss how we
can work together to find a solution that supports both fiscal responsibility and the needs of our
communities.

Sincerely,

Cywa late S|

Representative Cyrus Javadi
State of Oregon House of Representatives

Capitol Address: 900 Court St. NE, H-373, Salem, OR 97301 — Phone: (503) 986-1432 — Rep.CyrusJavadi@oregonlegislature.gov
District Office: 1010 Main Ave, Tillamook, OR 97141 — District Phone (503) 842-7788

EPA_00299008
2:25-Cv-02152-RMG

<7 EPA

Date Filed 04/21/25

25-

01968-AO-EX

Entry Number 131 Page 30 of

143

QUILL

Ot aa larel ay: lami elantexe) @ @xole laa

Contact/s:

Instructions:

Signature:

Addressee:

Assigned to:

File Code:
DIES
Status:
Letter Date:
Received:

Created By:

Date Signed:

Closed:

History:

Name

Organization

Cyrus Javadi

Oregon Legislative Assembly

RA-R10-Prepare draft response for signature by the Regional Administrator for Region 10.

RA-R10-Regional Administrator

AD-Administrator

R10-Correspondence Team

301_1051_a Records of Senior Officials - Historically significant records of senior officials

YaST m=) OSM Ae)
Response Creation

13-Feb-25

14-Feb-25 5:33 PM

Service SVC_Quill

Date & Time
14-Feb-25 5:33 PM
18-Feb-25 4:21 PM

18-Feb-25 6:59 PM
18-Feb-25 6:59 PM

Printed: 18-Feb-25 7:00 PM

CC: AOQ-OCIR-RMOD, OLEM-OMIS

Action Taken
Created from email from
Priority change to Normal (14
days)
Approval set to Approved
Task completed with Decision =
Approved

Action Taken By

Cynthia Gaines

Kristy Miller
Kristy Miller

Page 1 of 1

EPA_00299009
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 31 of 143

From: EPAExecSec <EPAExecSec@epa.gov>
Sent on: Friday, February 14, 2025 2:26:47 PM
To: Quill <Quill@epa.gov>

Subject: FW: CERTA Funding in Tillamook County
Attachments: CERTA Funding Letter to President Trump.pdf (594.67 KB)

Reading file

From: Rep Javadi <Rep.CyrusJavadi@oregonlegislature.gov>
Sent: Thursday, February 13, 2025 2:34 PM

To: Zeldin, Lee <Zeldin.Lee@epa.gov>

Subject: CERTA Funding in Tillamook County

Caution: This email originated from outside EPA, please exercise additional caution when
deciding whether to open attachments or click on provided links.

Dear Mr. Lee,

| hope this message finds you well. |am reaching out as a Republican state legislator representing Oregon’s
coastal communities to express serious concern about the recent freeze on CERTA funding, which was
designated for critical energy-efficient housing projects in Tillamook County.

| have attached a formal letter outlining the issue, but to summarize:

e Tillamook County was set to receive $3.78 million in CERTA funds to support 180 new housing units in
Manzanita, Rockaway Beach, and Tillamook.
e These projects were designed to provide much-needed workforce and affordable housing while
improving energy efficiency in our coastal communities.
e The funding freeze has put these developments at risk, despite their alignment with conservative
principles of economic growth, local investment, and long-term sustainability.
| urge your office to review this decision and explore ways to restore these funds so that our communities are
not left behind. Housing shortages remain a top concern for Oregonians, and this investment was a step toward
a practical, forward-thinking solution.
| would appreciate the opportunity to discuss this matter further and explore possible solutions. Please let me
know a convenient time to connect.
Thank you for your time and consideration.
Best regards,

Cyrus Javadi DDS

Oregon State Rep. HD-32 | Tillamook County, Clatsop County, City of Clatskanie
Capitol Office: (503) 986-1432

Cell Phone: (503) 801-5363

Please note that all email sent to and from this account is subject to disclosure under public
records laws, and may be viewed by HD-32 legislative staff.

EPA_00299010
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 32 of 143

CYRUS JAVADI, DDS

STATE REPRESENTATIVE
DISTRICT 32

HOUSE OF REPRESENTATIVES

February 13, 2025

The Honorable Donald John Trump
President of the United States of America
The White House

1600 Pennsylvania Avenue, N.W.
Washington, DC 20500

Dear Mr. President,

I am writing to express deep concern regarding the recent freeze on CERTA funding, which was
set to support energy-efficient housing projects in Tillamook County, Oregon. This funding is
critical to addressing both our housing shortage and the need for more resilient, energy-efficient
housing in coastal communities.

Tillamook County was allocated $3.78 million to help develop 180 much-needed housing units
across Manzanita, Rockaway Beach, and Tillamook. These projects were carefully planned to
provide affordable, energy-efficient housing for working families, seniors, and others struggling
with the region’s housing crisis. The sudden halt in funding has put these developments in
jeopardy, leaving our communities uncertain about their future.

As a Republican, I believe in responsible fiscal policy, but I also recognize that strategic
investments in housing infrastructure strengthen local economies, reduce government
dependence, and provide stability for working families. Oregon’s coastal towns already face
significant challenges from rising housing costs and a lack of workforce housing. CERTA
funding was a step toward addressing these issues in a way that aligns with conservative
principles—supporting economic growth while ensuring housing remains accessible and
efficient.

I urge you to reconsider this funding freeze and allow these projects to move forward as
planned. Ensuring our communities have the necessary resources to thrive is a priority I know
we both share.

I appreciate your attention to this matter and would welcome the opportunity to discuss how we
can work together to find a solution that supports both fiscal responsibility and the needs of our
communities.

Sincerely,

Cywa late S|

Representative Cyrus Javadi
State of Oregon House of Representatives

Capitol Address: 900 Court St. NE, H-373, Salem, OR 97301 — Phone: (503) 986-1432 — Rep.CyrusJavadi@oregonlegislature.gov
District Office: 1010 Main Ave, Tillamook, OR 97141 — District Phone (503) 842-7788

EPA_00299011
2:25-Cv-02152-RMG

Message

Date Filed 04/21/25

Entry Number 131

Page 33 of 143

From:
Sent:
To:
cc:

Subject:

These were approved tonight—$116M. I am letting DOGE know on a separate email chain.

Voyles, Travis [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=1B106CBC235C47EFA550A831B623BF28-F26BBFA8-54]
3/4/2025 12:31:37 AM
Amidon, Eric [Amidon.Eric@epa.gov]
Corlett, Thomas [Corlett. Thomas@epa.gov]; Hanson, Paige (Catherine) [hanson.catherine@epa.gov]; Vaseliou, Molly
[Vaseliou.Molly@epa.gov]
RE: Test Run - Contracts for Review

Review
Status

OGC
Comments-
Review
Status

AO
Comments-
Review Status

Need for
OMS/Program
Details

Date
Cancellation
Process
Started

DOGE
Rationale

Terms and
Conditions
(T&C)

URL

AO Approved
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

2/16/2025

Program not in
line with
administration
priorities:
Environmental
Product
Declaration
Assistance (SP)

Not
awarded
yet. No
T&C.

Environmental
Product
Declaration
Assistance (SP)
(OCSPP)

EPA_00299248

2:25-Cv-02152-RMG

AO Approved
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Date Filed 04/21/25

2/16/2025

Entry Number 131

Program not in
line with
administration
priorities:
Environmental
Product
Declaration
Assistance (SP)

Page 34 of 143

Not
awarded

yet. No
T&C.

Environmental
Product
Declaration
Assistance (SP)
(OCSPP)

EPA_00299249

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 35 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in
line with
administration
priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299250
2:25-Cv-02152-RMG

AO Approved
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Date Filed 04/21/25

2/16/2025

Entry Number 131

Program not in
line with
administration
priorities:
Environmental
Product
Declaration
Assistance (SP)

Page 36 of 143

Not
awarded
yet. No
T&C.

Environmental
Product
Declaration
Assistance (SP)
(OCSPP)

EPA_00299251

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 37 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299252
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 38 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it is a
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299253
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 39 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299254
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 40 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in
line with
administration
priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299255
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 41 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299256
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 42 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299257
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 43 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions. Program not in
line with
administration
priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299258
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 44 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299259
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 45 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299260
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 46 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299261
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 47 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299262
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 48 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299263
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 49 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in
line with
administration
priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299264
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 50 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299265
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 51 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299266
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 52 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299267
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 53 of 143

AO Approved 2/16/2025
- This work is
not consistent
with
Admnistration
prioirties of
achieving
measurable
results on the
ground to
environmental
issues. This
funding
program
should be
supported by
the private
sector, not
government.
Could be one
that we get
pushback on
since it isa
grant to a
associations or
academic
institutions.

Program not in

line with

administration

priorities: Environmental
Environmental | Not Product
Product awarded Declaration
Declaration yet. No Assistance (SP)
Assistance (SP) | T&C. (OCSPP)

EPA_00299268
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 54 of 143

Financial

Total oe
Account Outlaved Remaining
Indentifier | Award Amount umay Amount Recipient Name Description

Amount .
WEAIN) (Estimate) (Estimate)

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Rochester Institute of
Technology. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
assist small construction material
manufacturers who recapture
&ldquo;waste&rdquo; to
manufacture new materials and
products. RIT will complete ISO-
compliant LCAs using existing,
modified or newly developed
PCRs and facilitate EPD
publication, then examine LCA
results, assess improvement
opportunities, and assist with
implementation. RIT plans to
review the process of conducting
the LCAs and publishing the
EPDs for any gaps or challenges.
The project includes conducting
a webinar for construction
material manufacturers
disseminating project results to
industry practitioners, architects,
builders, and other stakeholders,
as well as submitting new
upstream and downstream LCI
data to the Federal LCA
Commons. RIT aims to enhance
the environmental impact data
related to the production of
construction materials and
products, specifically those
utilizing post-consumer waste.
By providing technical assistance
and conducting comprehensive
life cycle assessments, the
initiative seeks to promote a
ROCHESTER more circular economy, reduce
INSTITUTE OF landfill waste, conserve natural
84108101 $1,298,635.00 $1,298,635.00 | TECHNOLOGY resources, and lower embodied

EPA_00299269
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 55 of 143

carbon. RIT will partner with
small manufacturers, such as
KLAW Industries LLC and
Pioneer Millworks Inc., to
develop and publish EPDs for
products like cement, concrete
and reclaimed wood. The project
will also address potential gaps
in existing standards and
processes, fostering greater
adoption of sustainable materials
across the construction industry.

Activities:

The activities include partnering
with two small manufacturers to
complete ISO compliant life
cycle assessment (LCAs) and
facilitate EPD publication for
four products, identifying
relevant Product Category Rules
(PCRs) for the products, and If
an appropriate PCR is identified,
it will be used for the LCAs. If
there is no suitable existing PCR,
the team will work with the PCR
Program Operator (PO) to
modify or develop a PCR. RIT
will work closely with the project
partners to develop the LCAs and
subsequently EPD publication.
To increase the generation
capacity of entities producing
EPDs, project partner staff will
shadow RIT personnel to learn
the LCA process and gain
experience with the software to
become more self-sufficient for
future EPD publications. This
experience will be shared ina
educational webinar. Then, RIT
will analyze the LCA/EDP
results and identify improvement
opportunities specific to the
products evaluated. RIT will
assist the small manufacturers
with product/production
improvements identified and
update their LCA and EPDs
accordingly. RIT will also review
any gaps or challenges faced in
conducting the LCAs and
publishing the EPDs. This will
include assessment of
existing/available PCRs, LCI
databases and the EPD
publication process, with regard
to construction materials and
products that use waste as

EPA_00299270
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 56 of 143

feedstock. The partner
manufacturers will provide input
regarding the experience,
including data collection
requirements, use of the LCA
software, engagement with the
Program Operator, etc. Based on
this review, RIT will analyze
results and if the findings are
significant, will develop an
educational output, such as a
guidance document,
incorporating lessons learned and
apply that approach to develop
an EPD for a third company
partner. The Final Phase of the
project will be to maximize reach
and increase the availability of
EPDs for construction products
that use post-consumer
feedstock, by providing
education to facilitate the use of
EPD development know-how
and the lessons learned through
this pr

EPA_00299271
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 57 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the National Glass
Association (NGA). This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
focus on collecting and updating
LCI data for primary flat glass on
a more regionalized basis with
improved data quality. Also
focus on development of an EPD
generator tool for processed glass
that will expand access and speed
EPD development further into
the product supply chain to glass
fabricators. And, focus on
providing technical, educational,
and financial assistance to glass
fabricator members for EPD
development. Lastly, will
improve the understanding about
glass end-of-life and quality of
LCA part D data, this subproject
will work with glass recycling
company members of NGA on
several deconstruction projects to
quantify glass recovery rates and
track end-use outcomes for
recycled glass.

Activities:

The activities include the
development of updates to PCRs
(flat glass and processed glass),
the creation of a processed glass
EPD generator tool, collection
and aggregation of flat glass data
and EPD educational program for
processed glass fabricators.

Outcomes:
13622 - NATIONAL
GLASS The anticipated deliverables
84108601 $2, 146,625.00 $2,146,625.00 | ASSOCIATION include data collection and

EPA_00299272
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 58 of 143

aggregation from four NGA flat
glass member manufacturers,
processed glass fabricators.

The expected outcomes include
educational materials for
processed glass fabricators,
processed glass EPD generator
tool and updates to the Flat Glass
and Processed Glass PCRs.

The intended beneficiaries
include the flat glass
manufacturers, processed glass
fabricators and procurement
officials and specification
specialists who must
specify/procure materials with
more robust EPDs.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299273
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 59 of 143
Description:

The EIFS Industry Members
Association (EIMA) is a
nonprofit trade association that
represents the Exterior Insulation
and Finish Systems (EIFS)
industry, including suppliers,
manufacturers, contractors,
architects and other EIFS
industry stakeholders. EIFS is an
integrated, cost-effective, durable
and highly energy-efficient
exterior cladding system used
broadly in construction projects
in the U.S. EIMA will develop
robust EPDs for EIFS products,
producing a combination of
industry-wide and facility-based
EPDs.

EIFS is a modern, multi-layer,
durable, and highly energy-
efficient exterior cladding
solution used broadly in
construction projects in the
United States and internationally.

It was introduced in the United
States in 1969 and is used ina
broad array of construction
applications including housing,
hospitals, casinos, hotels,
shopping malls,

schools, and many more private
and commercial building uses.

Activities:

The provider will work directly
with manufacturers to collect
facility specific primary and
supply chain data to use in
developing EPDs in conformance
with international, voluntary
consensus standards, and all
other standards that are suitable
for the U.S. market for EIF. This
project will develop three
industry-wide
&ldquo;parent&rdquo; EPDs for
EIFs that will include collecting
data from 25 manufacturing
facilities across the United

States. Once the parent EPDs
t7534 - EIFS Industry have been developed, the
84109001 $2,189,939.00 $2,189,939.00 | Members Association LCA Provider will work with

EPA_00299274
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 60 of 143

individual manufacturers to
develop EPDs for a total of 7
distinct EIF systems and the
various options that each of

the manufacturers have in their
product lines. These EPDs will
develop baseline data for the
various options, allowing the
manufacturers to more easily
develop new EPDs as their
product lines evolve. EIMA will
also work with EIFS installers,
contractor organizations, and the
established labor union to
support training, including to
residents in underserved
communities, as part of its
workforce development
strategy. EIMA staff and LCA
provider will offer a series of
Technical Assistance workshops
that introduce them to the LCA
provider, orient the
manufacturers to the EPD
process, assist them in data
collection, and, ultimately, utilize
and promote the completed EPDs
for their products

Outcomes:

This project will develop three
industry-wide
&ldquo;parent&rdquo; EPDs for
EIFs that will include collecting
data from 25 manufacturing
facilities across the United
States.

EIMA will develop EPDs for a
total of 74 distinct EIFS systems
These EPDs will develop
baseline data for EIFS
manufacturers to more easily
develop new EPDs as their
product lines evolve. EPDs
generated with support from this
grant will be published to an
accessible, open, public, free-to-
use EPD data platform that is
reliable, secure, 508 compliant in
terms of accessibility with data
discoverability via APIs, and
with robust search and filtering
capabilities. In addition, EIMA
will make the EPDs available on
other platforms such as GaBi

and ecoinvent and promote
findings through industry

EPA_00299275
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 61 of 143

educational resources. EIMA will
offer a series of Technical
Assistance workshops to orient
the manufacturers to the EPD
process, assist them in data
collection, and, ultimately, utilize
and promote the completed EPDs
for their products.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299276
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 62 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Portland Cement
Association (PCA). This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
establish a rebate incentive
program for manufacturers to
develop and provided third party
verified EPDs. Additionally,
strives to develop industry-wide
EPDs via one or more contracted
consultants. Lastly, participate in
the develop of the PCR for SCM
and continue to provide
educational aspects to
stakeholders.

Activities:

The activities will include PCA
to administer a reimbursement
program for the development of
EPDs, solicit and review
applications for reimbursement
funds that will Incentivize EPD
development by manufacturers
through a reimbursement
program that seeks Industry-
average EPD development. PCA
will perform data collection for
life cycle inventories and
verify/publish industry-average
EPDs. They will perform PCR
Development and facilitate the
merger of cement and SCM
PCRs that will assist to facilitate
development of a unified
cementitious materials PCR.
Another activity that PCA will
conduct is to hire a consultant to
provide training and on-call
technical assistance to
stakeholders that uses PCR
t6083 - PORTLAND specific training materials for
CEMENT EDP development. Additionally,
84108501 $2,445,363.00 $2,445,363.00 | ASSOCIATION they will develop and deliver

EPA_00299277
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 63 of 143

training programs on EPD
development and develop a LCA
Calculator and Benchmarking
Tool.

Outcomes:

The anticipated deliverables will
include PCA receiving fully
developed and verified EPDs, a
LCA Calculator and
Benchmarking tool, and produce
training materials, webinars,
handbooks, websites via a
consultant.

The expected outcomes include
PCA receiving fully developed
and verified EPDs as well as a
revised/update PCR to be used
for EPD development.

The intended beneficiaries
include manufacturing
organizations of concrete
products and the entire
construction industry.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299278
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 64 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to West Virginia
University Research Corporation.
This program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
provide technical assistance to
West Virginia construction
material manufacturers in
developing EPDs under new and
updated PCRs. This project will
include onsite technical
assistance, training, and
workshops. Specifically, the
project will support businesses in
West Virginia and neighboring
states to create robust EPDs
through comprehensive life cycle
assessments, with a focus on
small businesses in rural and
disadvantaged communities. The
initiative will include industry-
targeted outreach, database
enhancement, on-site and off-site
technical assistance, training
workshops, webinars and
community outreach. This multi-
faceted approach is designed to
lower emissions of hazardous
and other locally impacting
pollutants, thereby improving air
quality and public health. The
project will leverage existing
networks and partnerships with
organizations like the West
Virginia Manufacturing
Extension Partnership and the
West Virginia Office of
Economic Development. It will
develop a baseline database of
construction material
manufacturers, distribute draft
EPDs and guidance documents,
and provide personalized on-site
technical assistance through

WEST VIRGINIA planned visits. Additionally, the

UNIVERSITY project will engage businesses

RESEARCH through conferences and create a
84108001 $2,486,224.00 $2,486,224.00 | CORPORATION public domain EPD sharing

EPA_00299279
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 65 of 143

platform to make the knowledge
and EPDs accessible to all. By
helping businesses develop and
verify EPDs, the project will
enhance their competitiveness in
supplying federal and
institutional construction
projects, thereby fostering
economic growth and job
creation.

Activities:

The activities include
development of a database of
businesses in West Virginia and
neighboring states that
manufacture construction
materials and products,
performing an outreach
campaign to assess the state of
EPDs under various PCRs and to
improve awareness, developing
and disseminating draft EPDs
and guidance documents,
gathering quantitative and
qualitative data on manufacturer
operations prior to site visits, site
visits which will include onsite
data collection, data verification,
EPD submission, post-site visits,
virtual assistance, resource
development, knowledge sharing,
hosting webinars and workshops
on topics like LCAs, GHG
measurement, data
standardization, and industrial
decarbonization, advertising for
and hosting two conferences that
will be focused on educating and
promoting discussion of data
collection and EPD development
and gathering feedback post-
conference, and public EPD
platform development.

Outcomes:

The anticipated deliverables
include a database of regional
construction businesses
(including basic facility-specific
information), data and education
on regional construction EPDs,
customized EPD guidance for
prioritized businesses, detailed
facility-specific manufacturing
and process emissions data,

EPA_00299280
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 66 of 143

verified facility-specific data and
EPD process development,
facility-specific EPDs and
reports, virtual technical support,
technical assistance materials,
promotion materials, education
and training materials,
conferences and conference
feedback data, and a public EPD
platform.

The expected outcomes include
encouraging businesses to
develop and/or verify EPDs and,
along the way, take steps to
lower their emissions of
hazardous and other locally
impacting pollutants. It is
expected that the participating
businesses, by having EPDs, can
better compete in supplying
federal and other institutional
construction projects, creating
jobs and other economic
opportunities.

The intended benef

EPA_00299281
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 67 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Cornell University. This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
address gaps and challenges in
the deconstruction-to-reuse value
chain by convening experts
across academia, industry and
nonprofit organizations. The
group will develop a Salvaged
Products Passport (SPP) that
combines a robust EPD+ dataset
with elements of a product
catalog (or materials passport) to
enable adoption of reuse by
industry at scale. With their
project partners - the Cornell
University Circular Construction
Laboratory (CCL), Urban
Machine (UM), Finger Lakes
ReUse (FLR) and Build Reuse
(BR) &ndash; the grantee will
develop a process and template
called Salvage EPD (SEPD) that
will function as a product
catalog for salvaged materials
when used with a materials
passport. These two sources of
documentation will form a
Salvaged Products Passport
(SPP). The goals of the SPP are
to spur market demand, enable
application and procurement of
salvaged materials, increase the
transparency of greenhouse gas
data, and assist businesses in
disclosing and verifying this
data.

Activities:

The activities include carrying
out deconstruction case-studies
to generate data on the intensity
CORNELL of ‘production’ for salvaged
84107101 $2,499,999.00 $2,499,999.00 | UNIVERSITY materials. &nbsp;The resultant

EPA_00299282
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 68 of 143

materials will then be
reprocessed to develop batch-
level Salvaged Environmental
Product Declarations (SEPDs), to
form a basis for
extrapolation.&nbsp;Using
LiDAR and AJI-enabled
technology, WP2 will conduct
full-building scans of at least six
structures to create itemized
Salvaged Product Passports
(SPPs) for all wood products
within the surveyed buildings. .
Extrapolating from scans
collected in WP2, WP3 will
create two large-scale stock and
flow analyses using Ithaca, New
York and Bay Area, California.
Each case study will comprise at
least 5,000 structures, generating
an early understanding of the
quantity and quality of materials
available for salvage in the
future. The datasets, tools
technology, and software
packages will be made publicly
available. &nbsp;Packaging the
learnings from wood reuse into a
replicable methodology, the
project&nbsp;will focus on
scaling and distributing
information through the
connections of the project
partners.

Outcomes:

The anticipated deliverables
include at least three confirmed
deconstruction case-studies,
processing 200-300 tons of
material, approximately 200-300
batch-level SEPDs generated,
10,000 individual product
Material Passport datasets
generated, full-building scans of
at least six structures, two large-
scale stock and flow analyses
(Ithaca and location in Bay
Area), urban material resource
maps, methodology for
standardizing SEPDs and their
associated PCRs, and developing
an interrogation methodology to
identify key characteristics of
materials (e.g., origin, original
use).

EPA_00299283
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 69 of 143

The expected outcomes include
itemized SPPs for all wood
products within the surveyed
structures, automatic SEPD
generation and tracking
technologies during salvage
processing using novel computer
vision, acoustic and
quantification technology
developed by Urban Machine.
Augmented with process and
context related data, this will
generate SEPD data on salvage
logistics and processing,
including energy needed to
harvest and transport the
materials, re-process wood for
reuse and transport materials to
their end user. Datasets, tools and
software will be made publicly
available. Packaging the
learnings from wood reuse into a
replicable methodology the
project would scale and distribute
information through the
connections of the project
partners.

The intended beneficiaries
include architecture, engineerin

EPA_00299284
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 70 of 143
Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to The University of Texas
at Austin. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
develop supply chain emission
data sets for three salvage
product categories: dimensional
lumber, commercial doors and
waste plastic. Using these data
sets, The University of Texas at
Austin intends to develop PCRs
for salvaged materials and
establish a framework for robust
EPDs for salvaged materials. The
project also includes an open-
source toolkit for computing the
environmental impacts of
salvaged construction products
and materials.

Partnering with Urban Machine,
re:3D, Doors Unhinged, The
Reuse People and Florida
A&amp;M University, this
project aims to develop robust
product category rules (PCRs)
for salvaged and remanufactured
construction materials. The
project seeks to quantify the
greenhouse gas and air quality
impacts associated with
remanufacturing processes by
conducting a comprehensive
uncertainty assessment for
materials such as dimensional
lumber, commercial doors and
3D printed waste plastic. This
data will help create transparent
EPDs, enhancing confidence in
the environmental benefits of
using remanufactured materials
over raw/virgin products. This
project will contribute to
reducing greenhouse gas
emissions and to support a
growing marketplace for
University of Texas at | sustainable construction
84106801 $3,268,757.00 $3,268,757.00 | Austin materials.

EPA_00299285
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 71 of 143

Activities:

The activities include
Initialization of Data Collection
Process, Supply-Chain Specific
Data Collection, Uncertainty
Assessment, PCR Development,
and Reporting Outputs.

Outcomes:

The anticipated deliverables
include Upstream supply chain
mappings, Transforming
activities definitions, Identifying
transforming activities,
Collecting LCI data sets,
Industry data collection, Air
quality measurements,
Distribution functions for
emissions sources, Sensitivity
analysis, Collecting PCRs and
EPDs for virgin materials, Virgin
and remanufactured material
emission comparison,
Identification of remanufacturing
materials unique characteristics,
PCR development, Third-party
verification of PCRs, Open-
source upstream emissions
toolkit for salvaged materials,
and Publishing PCRs and EPDs.

The expected outcomes include
Promoting low GHG materials
through quantitative comparison
of virgin and remanufactured
products; Program precedence
for generating PCRs &amp;
EPDs for salvaged materials; and
Improving air quality for
communities by quantifying air
pollutant benefits of
remanufacturing over newly
manufactured materials and
associated industries.

The intended beneficiaries
include non-profits and
construction material
remanufacturers in&nbsp;Texas,
California, Florida, and
Pennsylvania.

EPA_00299286
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 72 of 143

Subrecipient:

Doors Unhinged will be
providing access to historical
data, ongoing projects to track
and quantify carbon emissions
associated with remanufacturing
commercial doors; coordinate
participation in measuring
indoor/outdoor air quality.

In order to capture greenhouse
gas emissions related to material
recovery, one graduate student
(GRA 4) and one undergraduate
student from FAMU will visit
two demolition sites in Leon
County, Florida. In addition, one
graduate student from UT Austin
(GRA 1) will travel to the
following locations to collect
greenhouse gas emissions data:
City of San Antonio, Texas, City
of San Francisco, California, and
Pittsburgh, Pennsylvania.

RE:3D (Dr. Sassaman) will be
collecting data on greenhouse gas
(GHG) and air quality emissions
associated with a series of
remanufacturing demonstrations.
Demonstrations will focus on 3D
printing using waste plastic
products from buildings.

The Reuse People (project
coordinator or analyst)

EPA_00299287
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 73 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the International Code
Council - Environmental
Services. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
develop robust EPDs in major
material sectors such as:
concrete, steel, wood, and
emerging materials that currently
do not have significant
representation in the EPD
market.

Activities:

The activities include developing
robust EPDs in major material
sectors such as: concrete, asphalt,
steel, wood, and emerging
materials that currently do not
have significant representation in
the EPD market. The grant will
include project to develop an
EPD generator tool for wood
construction products.
Additionally, there will be
education, outreach and technical
assistance offerings to industry in
the steel, concrete, wood and
emerging material sectors to
support the development of
robust EPDs.

Outcomes:

The anticipated deliverables
include robust EPDs from 100
concrete producers, 40 asphalt
producers, 25 steel fabricators,
25 engineered wood

19814 - manufacturers, 25 dimensional

INTERNATIONAL lumber manufacturers, 10

CODE COUNCIL, plywood manufacturers and up to
84108901 $3,500,000.00 $3,500,000.00 | INC. 30 emerging material

EPA_00299288
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 74 of 143

manufacturers. These EPD
projects will focus on the Pacific
Northwest Region of the United
States.

The expected outcomes include
up to 1,400 EPDs generated from
this grant project, a new facility
specific EPD generator tool for
wood construction materials.
These will help advance the
number of robust EPDs in exiting
and emerging construction
materials spaces.

The intended beneficiaries
include regionally important
construction material sectors in
asphalt, concrete, steel and
emerging materials. States such
as Oregon and Washington will
be able to increase states’
capacity for procuring lower
embodied carbon construction
materials. These efforts will
balance the availability of EPDs
across materials throughout the
region.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299289
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 75 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Rebuilding Exchange.
This program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will use
data collected at its two reuse
stores and through its
deconstruction services to
demonstrate the reduced
embodied greenhouse gas in
salvaged construction materials.
Through this project, they will
develop 25 EPDs, train 150
participants through a workforce
training program, and share data
online. The goal of the project is
to enhance the quality of
greenhouse gas data associated
with salvaged materials, provide
tools for other practitioners,
create new/updated EPDs that
demonstrate the significant
embodied carbon reduction and
other environmental impacts of
salvaged materials, and spur
market demand.

Activities:

The activities include developing
a workforce training program
curriculum to provide embodied
carbon data and reporting
experience for the training of 150
trainees. The activities also
include developing a design plan
for data collection methods from
two salvaged building materials
stores and in-house
deconstruction services to
incorporate into EPDs for
lumber, brick, stone, flooring,
and doors. Developing and
executing a plan to collect and
19433 - EVANSTON assess data to create 25 new
REBUILDING LCAs and/or update LCAs, and
84108701 $3,887,329.00 $3,887,329.00 | WAREHOUSE developing and publishing 25

EPA_00299290
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 76 of 143

EPDs. Developing a toolkit for
other reuse retail and
deconstruction service providers
to strengthen data collection,
analysis, and reporting.
Developing a case study report
that provides project activities,
outcomes, and recommendations
of how the data can be used to
spur market demand for salvaged
construction materials.
Incorporating the EPDs into an
expanded digital marketplace
that will allow comparisons to
newly produced products.
Additional activities include
materials flow mapping, a
deconstruction project calculator
to measure environmental impact
of deconstruction vs demolition,
and development of a robust
education and outreach program
(fact sheets, visual aids, and
infographics).

Outcomes:

The anticipated deliverables
include a workforce training
program curriculum, training of
150 trainees in embodied carbon
and data collection and analysis,
development of LCA and EPD
data resulting in creation of 25
new EPDs for salvaged
materials, development of a
toolkit for other reuse retail and
deconstruction service providers,
a project case study report,
digital marketplace that will
include salvage vs new
comparability, materials flow
mapping, deconstruction project
calculator and EPD integration.
Deliverables also include
education materials such as fact
sheets, visual aids, and
infographics.

The expected outcomes include
expanding the number of
salvaged material EPDs,
expanded education of the
salvage/reuse community -
nationally, regionally, and locally
- about the lower embodied
carbon footprint of salvaged
building materials. Engaging key

EPA_00299291
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 77 of 143

stakeholders - local government,
universities, corporations, and
construction companies - on the
new EPDs and encourage greater
procurement of salvaged
materials for construction
projects. Sharing the LCA-EPD
information more broadly in
national reuse, architectural, and
design spaces through outreach
and engagement activities such
as webinars and conference
presentations.

The intended beneficiaries
include architecture, engineering,
and construction professionals,
LCA practitioners, academia, and
material manufacturers and
suppliers.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299292
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 78 of 143
Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to The University of
California, Davis. This program
is to support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
develop guidance for new
Product Category Rule (PCR)
creation and Environmental
Product Declaration (EPD)
verification. The activities will
expand EPD scope beyond
cradle-to-gate and recommend

performance categories and
functional categorization
methods for fair, transparent
material comparisons.

This project will target asphalt
and concrete pavement materials.
Technical guidance, online
educational materials, and
training for EPD developers and
consumers will raise awareness
about knowledge gaps, database
inconsistencies, and decision-
making approaches, including
project life cycle assessment.
Annual workshops will facilitate
stakeholder communication,
while educational materials and
training for minority-serving
colleges and community colleges
in underserved census areas will
increase workforce diversity in
the construction materials sector.

Activities:

The activities include prepare
and publish RFP to select
contractor to plan and convene

UNIVERSITY OF five annual workshops, to select
CALIFORNIA, LCA data expert and LCA tool
84109301 $4,222,307.00 $4,222,307.00 | DAVIS developer, establish and maintain

EPA_00299293
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 79 of 143

a dedicated website for a
finalized dissemination plan,
develop criteria for achieving
consensus on EPD verification,
EPD benchmarking guide,
develop a framework for
expanding EPD&rsquo;s scope
beyond production stage,
consideration of impact
categories other than global
warming, facilitate PCR
development, EPD upstream data
gap analysis and
recommendations, expanded
scope EPD for materials to
develop a methodology that
incorporates all factors
influencing life-cycle
environmental impacts within the
contractor&rsquo;s control in a
Design-Bid-Build (DBB)
contract, develop a
comprehensive methodology for
creating a whole-project
environmental impact budget
specific to transportation
infrastructure, integration of
project Environmental and Cost
life cycle assessments, Online
self-paced training modules on
product characterization, setting
EPD benchmarks, and
interpreting EPDs to facilitate
decision-making for desired
materials will be developed for
state and local agency staff,
semi- annual, annual an final
reports.

Outcomes:

The anticipated deliverables
include develop a technical guide
document for achieving
consensus on EPD verification,
develop a technical guide
document, a tech brief, online
self-paced training, develop a
technical guide document for
expanding EPDs beyond
production stage, develop a
technical guidance document
with recommendations for
consideration of social impact
indicators and equity, including
locations of impacts in the
environmental analysis, develop
a technical guide per material

EPA_00299294
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 80 of 143

PCR to facilitate and summarize
findings, including available
data, missing data, actions to
start collecting data, costs, and
anticipated timeline for EPD,
develop a technical guide for
EPD upstream data gap analysis
and recommendations, develop a
technical guide for informing
LCA and LCCA integration for
projects and training modules
and outreach campaigns for
students.

The expected outcomes include
connections with industry and
agency stakeholders expand
across the United States, conduct
annual workshops will serve as a
platform for exchanging
information, sharing
perspectives, identifying areas
requiring attention, fostering
cross-agency dialogue, reaching
consensus, and organizing
initiatives, a dedicated website
serving as a hub for news,
newsletters, tech briefs, and a
repository of developed technical
guides. The guides will be
assigned a DOI for scholarly
recognition, draft EPD criteria
for th

EPA_00299295
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 81 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to International Living
Future Institute (ILFI). This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
develop &quot;Declare
Environment, &quot; a new
product label that will simplify
the disclosure of complex EPD
data. The project aims to increase
EPD adoption, improve product
environmental performance, and
foster industry awareness.

Activities:

The activities include,
developing a science-based,
industry-aligned, user friendly
tool that elevates the accessibility
and actionability of complex
EPD data; developing and
hosting summits and trainings to
foster awareness, share insights,
and advocate for change to
accelerate industry
transformation; building on
established industry best
practices to create clear
definitions and methodologies
for EPDs that are facility and
supply-chain-specific and adhere
to recognized international
standards; developing and
provide free, publicly available
tools and an easy-to-access and
navigate database for making
decisions and selecting best-in-
class products; using an outcome
evaluation to track metrics
related to the project, and
developing reports to meet EPA's
t1259 - reporting requirements.
INTERNATIONAL
LIVING FUTURE
84110601 $4,662, 182.00 $4,662,182.00 | INSTITUTE

EPA_00299296
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 82 of 143

Outcomes:

The anticipated deliverables
include industry-aligned
technical requirements, a user-
friendly tech platform, a
compelling product label,
educational activities (summits,
trainings, webinars, etc.), and an
impact evaluation, as well as
annual reporting to EPA.

The expected outcomes from the
above-listed deliverables,
include: increased number of
robust EPDs in the marketplace,
enhanced EPD data accessibility
and actionability, empowered
manufacturers through
environmental performance
recognition, and informed
decision-making for architecture,
engineering, and construction
professionals.

The intended beneficiaries of
these outcomes include
construction material
manufacturers (e.g.,
manufacturers of flooring,
insulation, among other
materials); and architects,
engineers, construction
professionals.

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299297
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 83 of 143
Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the American Wood
Council. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
expand the amount of data and
enhance transparency about U.S.
wood product.

Activities:

The activities include advancing
EPDs for wood products by
improving primary life cycle data
collection and reporting,
updating PCRs, conducting a gap
analysis, creating an EPD
generator tool, improving
disclosures for wood in Whole
Building Life Cycle
Assessments, and administering
pass-through grants to U.S. wood
product manufacturers to create
EPDs.

Outcomes:

The anticipated deliverables
include datasets on upstream
forestry data and untreated and
treated wood products, public life
cycle impact data, EPD generator
tool for wood products, an
updated PCR for wood products,
and EPDs from wood product
manufacturers.

The expected outcomes include
improved transparency and
access to the environmental
impacts of wood products and
t8613 - AMERICAN increased availability and quality
84110001 $6,000,000.00 $6,000,000.00 | WOOD COUNCIL of EPDs for wood construction

EPA_00299298
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 84 of 143

products.

The intended beneficiaries
include U.S. wood products
mills, and architecture,
engineering, and construction
(AEC) professionals.

Subrecipient:

There will be 4 subawards as part
of this grant with activities as
follow:

The Composite Panel
Association will conduct a
literature review to gather
information about the disposition
of finished wood products
(structural lumber and panels;
kitchen cabinets, and laminate
flooring containing wood). A
data collection effort will be
developed to solicit information
about the average finished
product service life and the fate
of the products at end of

life. Further, the research will
include an evaluation of the role
preservatives play in limiting
landfill degradation. This cradle-
to-grave information will come
from volunteer companies and
affiliated trade associations.

Woodworks will work with
multiple software developers to
incorporate data from the Federal
LCA Commons and EPDs for
products associated with the
construction of wood buildings
(light frame and mass timber), to
have a better understanding of
the wholistic carbon benefits of
using wood products.

Treated Wood Council will
update the &ldquo;PCR for
North American Pressure-
Treated Wood Products&rdquo;,

EPA_00299299
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 85 of 143

set to expire October 30, 2027.
Funding from EPA will assist in
convening a working group with
stakeholders beginning in 2026
and funding consultants to assist
with the PCR Update Process, as
well as the independent third-
party review. TWC will also
conduct a gap assessment of
other PCRs that cover treated
wood to determine where updates
might be requisite to support
harmonization internationally.
This task will identify differences
and improve comparability.

The U.S. Endowment for
Forestry and Communities, will
Develop a Digital Platform to
Provide High Quality,
Transparent Forest and Wood
Carbon Data to Users of Wood
Products. Funds will cover key
aspects of website development
and interface with external
audiences. Funds will also ensure
alignment of the platform with
the suite of available LCA
&amp; EPD tools to allow their
systems to integrate EPD data
contained on this platform for
use by architects, engineers, and
others.

EPA_00299300
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 86 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to ACMA-IACMI
CIRCLE Partnership. This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient (ACMA
and IACMI CIRCLE
partnership) will deploy an
industry-funded LCA-EPD
generator and assist
manufacturers in developing
EPDs for composite construction
materials and products. The
project includes developing new
Product Category Rules (PCRs)
and modifying existing PCRs
where needed, educating more
than 200 manufacturers and their
customers on the use of EPDs,
and working with universities to
develop gate-to-grave data that
can be incorporated into EPDs.
This project will address a
current need as well as
harmonize technological
advancement with environmental
responsibility and pave the way
for a more sustainable future in
construction and infrastructure.

Activities:

The activities include providing
support costs (reimbursement) to
composite construction material
manufacturers for developing
and completing environmental
product declarations (EPDs).
Additionally, EPDs developed
under the project will be
evaluated against EPA's Low

Embodied Carbon Label
Program Approach. The project
16030 - will prepare LCA for low carbon
COLLABORATIVE raw materials, the effect of which
COMPOSITE will be an increased ability of
84111301 $6,000,000.00 $6,000,000.00 | SOLUTIONS CORP composite manufacturers to use

EPA_00299301
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 87 of 143

these materials to drive
reductions in their cradle-to-gate
climate impacts. Develop
Product Category Rules (PCRs)
that can be used to prepare robust
EPDs for composite products.
PCRs will include provisions for
the statement and justification of
Reference Service Life, allowing
infrastructure designers and
builders to determine how many
times the component or structure
will need to be replaced during
the design-lifetime of the
structure. Other activities to be
performed are; provide industry
and end-users education on
assessment and use of life cycle
impacts, work with universities
to increase data availability, and
conduct educational seminars
and webinars related to
composite EPD development.

Outcomes:

This project plans to produce 50
EPDs for Fiber Reinforced
Polymer (FRP) composites
construction and infrastructure
products made by smaller
manufacturers. CIRCLE
Partnership will cover participant
support costs for companies
developing EPDs. Additionally,
the project will launch new Life
Cycle Inventory (LCI) for low-
carbon raw materials for use by
the composites industry, as well
as develop 3-4 new/modified
PCRs for composite materials
that will allow preparation of
robust EPDs addressing post-gate
impacts.

The intended beneficiaries
include architecture, engineering,
and construction professionals,
LCA practitioners, academia, and
composite material
manufacturers and suppliers.

EPA_00299302
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 88 of 143

Subrecipient:

CIRCLE partnership will identify
and engage universities and
community colleges that have the
facilities, equipment, and
technical expertise necessary to
conduct state-of-the-art
characterization of the
construction, use, and disposal
stages of composites in
infrastructure and construction
applications. This work will
include accelerated testing in a
laboratory environment and
sampling and testing of
composite elements from the
field.

Outcomes include; estimated
Service Life of composites in
various applications and
quantified environmental impact
data for composites in the
Construction, Use &amp; End-
of-Life stages that can be
included in EPDs and that
quantify the Gate-to-Grave
greenhouse gas emissions in a
variety of Infrastructure &amp;
Construction applications

IACMI is accountable for
effectively monitoring the
performance of subrecipients and
successful completion of the
pro@ject including all
milestones, deliverables, and
report

EPA_00299303
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 89 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Hemp Building
Institute. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
provide a baseline understanding
of current EPDs and LCAs for
biogenic materials, identification
of improvement areas and
standardized PCRs for biogenic
materials, work with the existing
PCR committee for Agricultural
Crops to strengthen their work
and create a robust cradle to gate
PCR for agricultural crops used
in building materials, design and
develop an EPD generator, create
a Measurement, Reporting and
Verification (MRV) system, and
develop training modules to
conduct webinar training
sessions to help industry create
EPDs using their tool.

Activities:

The activities include working
with subrecipients (Alabama
State University, California
Strawbale Association, National
Hemp Association) to research
and gather data to establish a
baseline understanding of current
EPDs and LCAs for biogenic
materials, identification of
improvement areas and
standardized PCRs for biogenic
materials, work with the existing
PCR committee for Agricultural
Crops to strengthen their work
and create a robust cradle to gate
PCR for agricultural crops used
in building materials, design and
develop an EPD generator tool,
create a Measurement, Reporting
t9952 - Hemp Building | and Verification (MRV) system,
84107801 $6, 186,200.00 $6,186,200.00 | Institute develop training modules to

EPA_00299304
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 90 of 143

conduct webinar training
sessions to help industry create
EPDs using their tool, and
marketing efforts (leveraging
California Strawbale Association
and National Hemp Association)
to encourage adoption and use of
the tools, systems and PCRs
being created. Work with
Alabama State University will
also include a training program
where students will gain hands-
on experience with life cycle
analysis and increase their
sustainability acumen.

Outcomes:

The anticipated deliverables
include a comparative analysis
report, cradle to gate PCR for
agricultural products used in
construction materials, cradle to
grave PCRs focused on
Hempcrete and other biogenic
products as building materials, a
comprehensive EPD generator
and MRV tool, Compiled list of
health-related impact categories
and data, robust environmental
product declarations for 25-40
different products, training
modules and technical assistance.

The expected outcomes include
more robust data and
environmental product
declarations for biogenic
materials, enhanced efficiency
and accuracy in environmental
impact assessments and life cycle
analysis (LCA), more individuals
trained in LCA practice leading
to a diverse workforce and
published PCRs in this space.

The intended beneficiaries
include universities, non-profit
organizations and manufacturers
of biogenic materials.

Subrecipient:

EPA_00299305
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 91 of 143

Alabama State University - Will
be conducting an in-depth
comparative study of existing
EPDs and LCAs for biogenic
building materials, focusing on
the agricultural contribution.
They will also establish a
program for the development of
LCA specialist workforce.
Working with an LCA
practitioner and Program
Operator, students will gain

hands-on experience and increase
their sustainability acumen.

Healthy Materials Lab - Will
focus on the health impacts of
biogenic building materials to
create criteria to evaluate these
materials including toxicity

and circularity. This increases the
understanding of the overall

impact of these materials beyond
the traditional EPD requirements.

California Strawbale Association
and National Hemp Association -
Increase outreach to relevant
industry experts, understanding
of

EPDs and our developed tools.

Manufacturers - Develop robust
EPDs for various construction
materials made from biogenic m

EPA_00299306
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 92 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to University of
Massachusetts. This program is
to support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
reduce the environmental
impacts of domestic construction
activity, steel production, and
product manufacturing through
increasing the quality,
transparency, and geographic
coverage of life cycle inventories
and resultant EPDs representing
steel products.

Activities:

The activities include the
development of life cycle
inventory and EPD generator
tools that can automate
production of steel product
EPDs, create an EPD repository,
and update the steel PCR. The
University of Massachusetts
Amherst will also provide
educational resources to students
and design, construction and
steel industry professionals.

Outcomes:

The anticipated deliverables
include LCI datasets to be
publicly available and added to
the LCE commons database, an
updated PCR, an EPD generator
tool and resulting EPDs for steel
construction products.

UNIVERSITY OF The expected outcomes include
MASSACHUSETTS improved access to high-quality
84108301 $6,371,426.00 $6,371,426.00 | LOWELL EPD generation for a broader

EPA_00299307
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 93 of 143

range of steel product
manufacturers, and a more
skilled and mature workforce
familiar with sustainable
practices and setting a new
standard for steel product EPDs.

The intended beneficiaries
include manufacturers and
fabricators of steel products
(particularly small businesses),
designers, engineers and
specifiers using EPD data, and
state policy makers and code
enforcement needing better data.

Subrecipient:

2 Subawards to AISC &amp;
AISI trade associations

AISC&rsquo;s role in this project
will entail managing and
assisting in data research and/or
collection activities, developing
periodic reports for project
activities, providing extensive
guidance and oversight to the
consultant(s) throughout all
aspects of this project, and
coordinating and participating in
frequent collaborative meetings
with the project team, federal
agencies, and project participants
and supporters. AISC further
anticipate contributing to the
development of training modules
to accompany the developed
tools and products from this
project, and to present project
updates and results at
conferences and webinars
throughout the U.S.

AISI &rsquo;s role in this project
will entail managing and
assisting in data research and/or
collection activities, developing
periodic reports for project
activities, providing extensive

EPA_00299308
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 94 of 143

guidance and oversight to the
consultant(s) throughout all
aspects of this project and
coordinating and participating in
frequent collaborative meetings
with the project team, federal
agencies, and project participants
and supporters. AISI further
anticipates contributing to the
development of training modules
to accompany the developed
tools and products from this
project, and to present project
updates and results at
conferences and webinars
throughout the U.S.

EPA_00299309
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 95 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to National Ready-Mix
Association (NRMCA). This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
establish a reimbursement and or
rebate program to provide
incentives for manufacturers to
develop EPDs.

Activities:

The activities include NRMCA
to establish an online grant
application for
pass&#8208;through grants for
new concrete EPDs, administer
and award pass&#8208;through
grant incentive A (new plants
that did not have EPDs before)
and for incentive B (plants with
revised EPDs to 2025 PCR with
GWP lower than NRMCA
benchmark). NRMCA will hire a
quality management expert to
develop written guidelines for
EPD tools, EPD Verifier
processes, EPD Program
Operators and those who enter
data into EPD

tools. Additionally, a searchable
website that is ADA compliant
will be created. NRMCA will
also develop an EPD Specialist
Education and Certification
Program using a certification
system for individuals to achieve
EPD Specialist Certification.

19195 - NATIONAL
READY-MIXED
CONCRETE
84107301 $9,632,293 .00 $9,632,293.00 | ASSOCIATION Outcomes:

EPA_00299310
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 96 of 143

The anticipated deliverables
include 5 low&#8208;carbon
workshops per year over the next
5 years in 25 different cities,
publish benchmarks in roughly
30 regions in 2025 (up from 9
regions) for 12 classes of
concrete and will use data
generated by the 4,500 plants
with EPD capabilities from Task
1 to produce benchmarks for at
least 50 regions (approximately
30 states and 20 metropolitan
areas) for 12 different strength
classes or more. NRMCA will
also develop PCR for
Admixtures and publish them in
2026, publishing [W EPD and
Benchmark Report for
Admixtures in 2025. Lastly,
provide pass-through grants up to
$5K for product specific EPDs
through their incentive rebate
program for manufacturers.

The expected outcomes include
NRMCA increasing the number
of EPD tools for concrete from 2
to 4 and the number of EPD
Verifiers from 4 to 8. They will
certify 500 Concrete EPD
Specialists to ensure high quality,
robust and accurate EPDs. An
update to the existing PCR will
be done in 2026 and publish an
Industry Wise Wide EPD and
Benchmark Report in

2025. Provide pass-through
grants for product specific EPDs
and administer pass-through
grant applications. NRMCA
proposes to triple the number of
plants (from 1,500 to 4,500) with
EPD capabilities by offering
monetary incentives.

The intended beneficiaries
include manufacturers and the
overall construction industry.

Subrecipient:

EPA_00299311
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 97 of 143

No subawards are included in
this assistance agreement.

EPA_00299312
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 98 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the American Center for
Life Cycle Assessment. This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
increase the number of
practitioners in the field by
establishing LCA competencies
and other industry standards,
enhancing EPD standardization
across sectors by updating
ACLCA&rsquo;s PCR Guidance
and a PCR repository, and
establishing a life cycle inventory
data center to curate and support
background data for use in PCRs.
This project will yield an
adoptable framework to reduce
embodied greenhouse gas
emissions in construction
materials and products.

Activities:

The activities include efforts in
three distinct workstreams:
workforce development, EPD
standardization, and data
improvement and harmonization.
Under workforce development,
the American Center for Life
Cycle Assessment (ACLCA) will
conduct efforts to identify
required LCA competencies
including establishing a training
program, taking efforts to seek its
broader adoption, developing
sector specific specializations in
the program, improving and
expanding upon ACLCA's

t0497 - AMERICAN existing LCA certifications, and
CENTER FOR LIFE establishing a knowledge hub for
CYCLE LCA practitioners to leverage to
84111101 $9,696,503.00 $9,696,503.00 | ASSESSMENT further their professional

EPA_00299313
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 99 of 143

development. For EPD
standardization, ACLCA will
focus on updating their product
category rule guidance (open
standard), establishing a
stakeholder group focused on
PCR improvement, and
establishing and improving a
product category rule repository.
Lastly, ACLCA will take efforts
on data improvement and
harmonization by developing a
data portal which will identify
data quality requirements of
secondary life cycle inventory
datasets, as well as identifying
data gaps for future data
development.

Outcomes:

The anticipated deliverables
include a published skills
framework document, case
studies on process learning and
outcomes, certification exams,
online training courses, updated
and secured digital certificate
system for LCA certifications, a
PCR guidance addendum
manual, an updated PCR
guidance document, minimum
data requirements for secondary
data, and release of the data
portal.

The expected outcomes include
increased LCA certified
professionals within the
construction industry, various
roundtables and convenes
guiding the development of
aforementioned deliverables, and
increased assessment of data
quality of secondary life cycle
inventory datasets.

The intended beneficiaries
include the larger construction
industry that uses secondary data,
product category rule
committees, and users of
environmental product
declarations.

EPA_00299314
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 100 of 143

Subrecipient:

No subawards are included in
this assistance agreement.

EPA_00299315
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 101 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the Precast/ Prestressed
Concrete Institute (PCI). This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
disclose the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal in conformance
with international standards. This
project focuses on updating the
existing precast concrete Product
Category Rule (PCR) and
producing product-specific
Environmental Product
Declarations (EPDs) across three
trade associations: PCI, the
National Precast Concrete
Association (NPCA) and the
American Concrete Pipe
Association (ACPA). It will
entail updating the existing PCR,
developing an EPD generator
tool, and providing training and
support to member companies for
producing EPDs with the tool.
The project also allows for the
creation of EPDs under the
current PCR while an update is
conducted. The project will
empower precast concrete
manufacturers to develop and
produce compliant EPDs,
providing transparent and
verifiable embodied carbon
information to buyers and sellers
of precast concrete. The project
will partner with NPCA and
ACPA to implement this project,
reducing embodied greenhouse
gas emissions in line with the
Inflation Reduction Act and EPA
guidelines. By enhancing the
PCR and developing a new EPD
generator tool, the project will
support over 500 manufacturers
in producing more than 1,500
new or updated EPDs and
ultimately positioning the U.S.
precast concrete industry as a

19174 - leader in embodied carbon
PRESTRESSED reporting and disclosures.
CONCRETE

84110301 $9,975,000.00 $9,975,000.00 | INSTITUTE

EPA_00299316
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 102 of 143

Activities:

The key activities of this project
include updating the existing
precast concrete Product
Category Rule (PCR), overseeing
the development and ensuring
required verification of a new
Environmental Product
Declaration (EPD) generator tool
that conforms to the new PCR for
precast concrete, and thirdly,
working to develop, deploy, and
provide training and technical
assistance to precast companies
using the new EPD generator
tool to produce Type III product
and/or facility-specific EPDs.

Outcomes:

The anticipated deliverables
include precast industry adoption
of a new, updated, and enhanced
PCR that captures a majority of
precast industry products,
generation of greater than 1,500
new EPDs flowing from the new
PCR and the EPD-generator tool,
offering ongoing joint technical
training to manufacturers, and
completing an analysis and
documentation of any
correlations between EPD
generation and embodied carbon
impact mitigation from this
project.

The expected outcomes include a
greater transparency and sharing
of embodied carbon reporting by
key precast concrete industry and
community stakeholders to
complement ongoing GHG
reduction efforts within the
United States. The production of
more than 1,500 new or updated
EPDs will also help position the
U.S. precast concrete industry as
a leader in embodied carbon
reporting and disclosures.

The intended beneficiaries
include, through PCI's
partnership with the National

EPA_00299317
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 103 of 143

Precast Concrete Association
(NPCA) and the American
Concrete Pipe Association
(ACPA), over 500 precast and
prestressed concrete
manufacturers across all 50 states
who will receive assistance to
produce an estimated 1,500 new
or updated EPDs for the precast
concrete industry.

Subrecipient:

The recipient has partnered with
the National Precast Concrete
Association (NPCA) and the
American Concrete Pipe
Association (ACPA) as partners
to assist with implementing the
tasks outlined in the project
workplan. These partners will
assist with nearly all aspects of
the project: they will function as
advisors for the update of the
existing precast concrete PCR
and development and rollout of
the EPD generator tool, while
directly assisting PCI with
overseeing EPD generation and
quality assurance activities. The
project workplan provides fu

EPA_00299318
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 104 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to Oklahoma State
University. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will lead
the creation of the National
Center for Sustainable
Construction Materials to
promote low carbon construction
materials (LCCMs) and generate
robust EPDs for materials such
as asphalt, concrete, steel and
their additives. In collaboration
with 11 universities across the
USS., the project will provide
extensive training, create
educational programs, and design
tools and incentives for adopting
LCCMs in the market. It also
focuses on developing
benchmarking methods,
identifying high-impact
parameters beyond global
warming potential, and
integrating EPDs into
construction specifications. The
Center's efforts include
K&ndash;12 outreach and
workforce development to
nurture future professionals in
sustainable construction.

Activities:

Oklahoma State
University&rsquo;s project will
focus on establishing a national
center and EPD centers of
excellence at other universities,
facilitating training for
stakeholders such as engineers,
owners, material suppliers and
contractors, facilitating the
generation of EPDs, establishing
a benchmarking approach,
OKLAHOMA STATE | identifying high-impact
84108801 $9,990,311.00 $9,990,311.00 | UNIVERSITY parameters beyond GWP,

EPA_00299319
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 105 of 143

working with Departments of
Transportation and Tribes to
incorporate EPDs into
specifications, and performing
K&ndash;12 outreach and
workforce development
programs.

Outcomes:

The anticipated deliverables
include a National Center for
Sustainable Construction
Materials at Oklahoma State
University, Centers of Excellence
at partnering universities, EPD
assistance and trainings to
manufacturers, an EPD
repository portal with query
capabilities, training materials to
all stakeholders of the
construction materials industry,
train-the-trainer events, training
material and instructional
modules for STEM K-12 camps,
EPD data collection templates
and instructional videos, one-on-
one trainings, a series of
checklists, decision trees, and an
online tool including Material
Design Tools, monitoring EPD
development, published
benchmarking procedures, and
published specifications
including EPDs.

The expected outcomes include
increased education through
written, face-to-face, and online
training modules to help
construction, engineering, and
ownership team members to
design, specify, and procure
LCCMs. The project will publish
design tools that are practical and
easy to implement that will help
producers to predict the
performance, engineering
properties, sustainability, and
durability of LCCMs. The
project will facilitate
conversations with all
stakeholders in regional and
national meetings to ensure that
everyone is heard and able to
share their opinions, experiences,
and best practices. The project
will create incentives to lower

EPA_00299320
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 106 of 143

costs and risks for the industry
and facilitate the necessary
changes to adopt LCCMs. Direct
beneficiaries of this assistance
agreement include architecture,
engineering, and construction
professionals, LCA practitioners,
academia, and material
manufacturers and suppliers.

Subrecipient:

This proposal includes
subawards for a consortium of
ten universities that will
constitute the National Center for
Sustainable Construction
Materials, with each university
(except Langston) working as
Centers for Excellence (CoEs).
Each CoE will be handling states
adjacent to their respective states
and will be working with
construction material producers
in those states to provide
training, technical assistance, and
EPD assistance money to
producers that will help increase
the number of EPDs in those
states. Each partnering university
has submitted their respec

EPA_00299321
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 107 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to University of
Washington. This program is to
support the development,
enhanced standardization and
transparency, and reporting
criteria for environmental
product declarations (EPDs)
which include the measurement
of embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
focus on advancing robust data
for EPDs, and provide rigorous
LCA training to students and
professionals.

Activities:

The first workstream is focused
on expanding and validating
LCA research and resources.
This workstream will focus on
addressing gaps in foundational
LCAs to support lower cost,
more comparable and reliable
data using streamlined processes
and tools. Tasks include creating
digital resources to scale robust
EPDs; extending and validating
impacts considered by building
sector EPD policies, and connect
EPDs to building-scale LCAs for
robust comparisons.

The second workstream is
focused on validating and
expanding robust LCA
education. Building from the
leadership of ACLCA's
Education Committee's skills
framework and lifelong learning
structure for LCA education, this
workstream will apply the
ACLCA framework within three
universities and at least one
continuing education setting
mapping out opportunities and
challenges and developing
aligned curricular structures.
UNIVERSITY OF Learning outcomes will be
84107001 $9,990,668.00 $9,990,668.00 | WASHINGTON defined and evaluated through

EPA_00299322
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 108 of 143

surveys of curriculum pilots run.
External feedback on draft
recommendations will be
obtained and findings will be
disseminated. Tasks include
running LCA curriculum pilots,
refining the curriculum, and
publishing the curriculum. This
workstream will also implement
an internship program designed
to address inequities in
workforce development.

Outcomes:

The anticipated deliverables
include methodology documents,
case studies, templates, reports,
and an open source curriculum.

The expected outcomes include
more robust PCRs, more
comparable and standardized
LCA models, an expansion of
impacts addressed in
construction materials policies
(beyond GWP), adoption of open
source curriculum leading to
increased industry capacity on
low embodied carbon
construction.

The intended beneficiaries
include students who participate
in the internship program (at
Howard University and
University of Washington), the
building materials sector, the
LCA community, historically
underrepresented communities in
the LCA practitioner space.

Subrecipient:

Howard University will lead the
task &quot;Internship: LCA and
Environmental Justice&quot;. To
advance the development of an
equitable workforce, this
workstream will recruit students

EPA_00299323
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 109 of 143

from disadvantaged communities
at UW and from Howard
University (a Minority Serving
Institution and HBCU) to
participate in an internship
program. Students will learn
about LCA fundamentals and
engage in research integrating
environmental, health and social
impacts integrated with
environmental justice into LCA
methods and metrics. Includes:
1) a multi day in person
bootcamp, 2) a 20-week long
mentorship program during the
following academic year led by
UW and Howard, and 3) an
online virtual symposium in the
winter.

University of California -
Berkeley will lead the task
&quot;Apply, validate, and
Extend ACLCA's education
framework&quot;. Building from
the leadership of ACLCA's
Education Committee's skills
framework and lifelong learning
structure for LCA education, this
task will apply the ACLCA
framework within three
universities and at least one
continuing education setting
mapping out opportunities and
challenges and develop aligned
curricular structures. Learning
outcomes will be defined and
evaluated through surveys of
curriculum pilots. External
feedback on draft
recommendations will be
gathered and the findings will be
disseminated.

EPA_00299324
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 110 of 143

Description:

This agreement provides funding
under the Inflation Reduction Act
(IRA) to the National Asphalt
Pavement Association. This
program is to support the
development, enhanced
standardization and transparency,
and reporting criteria for
environmental product
declarations (EPDs) which
include the measurement of
embodied greenhouse gas
emissions associated with all
relevant stages of production,
use, and disposal, in
conformance with international
standards. The recipient will
focus on: (1) making EPDs for
asphalt mixtures more robust and
broadly available by improving
the existing EPD program and
providing rebates for companies
who publish EPDs; and (2)
implementing workforce
development and education
programs on EPDs for asphalt
mixtures. The NAPA
project&rsquo;s key partners
include Auburn University, the
University of New Hampshire,
Oklahoma State University, the
University of Washington, the
University of Nevada at Reno,
Construction Partners Inc., and
Lindy Paving.

Activities:

The activities include enhancing
the existing EPD program by
updating the PCR for Asphalt
Mixtures and developing a new
PCR for dry mix additives. A
rebate program will be
established to encourage EPD
development among asphalt mix
producers, particularly targeting
small businesses and
disadvantaged communities.
Furthermore, the project will
offer educational modules and
credentialing programs to train
stakeholders on best practices in
EPD development and usage,
promoting widespread adoption
and informed decision-making in

the industry.
t7105 - NATIONAL Outcomes:
ASPHALT The anticipated deliverables
PAVEMENT include: a revised PCR for
84107901 $10,000,000.00 $10,000,000.00 | ASSOCIATION INC Asphalt Mixtures and a PCR for

EPA_00299325
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 111 of 143

Dry Mixture Additives, both in
conformance with PCR Criteria;
revised software to aid asphalt
mixture producers in developing
EPDs; LCAs for RAP and RAS
processing and an enhanced LCI
model for asphalt plant; and
rebates for approximately 2,100
asphalt plants for developing
EPDs.

The expected outcomes include:
an increase in disclosure of GWP
impacts of asphalt mixtures by
asphalt mixture manufacturers; a
simplified process for asphalt
producers to generate EPDs with
higher quality data, resulting ina
more transparent marketplace for
lower embodied carbon asphalt;
and the development of more
than 2,100 asphalt mixture EPDs.

The intended beneficiaries
include asphalt mix producers
nationwide and those that
procure materials from them.

Subrecipient:

Subawardees include: Auburn
University, University of New
Hampshire, Oklahoma State
University, University of
Washington, University of
Nevada at Reno, Construction
Partners

Inc., and Lindy Paving.

Subawardees will fill the
following roles:

Auburn University will support a
number of activities, including:
the creation of a free certification
or credentialing program for
Emerald Eco&#8208;label users;
conducting a feasibility
assessment for including the use
phase in the pavement PCR; the
creation of an EPD/Embodied
Carbon Module for the AU
NCAT&rsquo;s Professor
Training Course; creating an
EPD/Embodied Carbon module
for AU NCAT's Asphalt
Engineer Workshop; developing
a video education series on
asphalt and Embodied Carbon;
and enhancing the accuracy and
assess the variability of energy
data used in EPDs.

EPA_00299326
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 112 of 143

The University of New
Hampshire will support the
project by acquiring, collecting
and/or processing construction
data for asphalt paving for use in
EPDs.

The University of Oklahoma will
be responsible for two primary
tasks - translating Agency Mix
Design Templates to EPD Data
Inputs; and developing and
maintaining National Registry of
Agency Mix Types and integrate
it into Emerald Eco-Label
Software by creating a training
materials in a learning
management system and writing
a manual for the credentialing
program.

The University of Washington, in
partnership with Auburn
University, will support the
development and execution of a
credentialing program for
Emerald Eco-Label Users

The University of Nevada at
Reno will lead constructi

EPA_00299327
1/14/2025

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 113 of 143

Date
Signed

EPA_00299328
12/4/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 114 of 143

EPA_00299329
12/4/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 115 of 143

EPA_00299330
12/3/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 116 of 143

EPA_00299331
12/5/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 117 of 143

EPA_00299332
11/27/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 118 of 143

EPA_00299333
12/3/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 119 of 143

EPA_00299334
12/16/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 120 of 143

EPA_00299335
11/27/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 121 of 143

EPA_00299336
1/8/2025

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 122 of 143

EPA_00299337
12/2/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 123 of 143

EPA_00299338
12/2/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 124 of 143

EPA_00299339
12/16/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 125 of 143

EPA_00299340
12/3/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 126 of 143

EPA_00299341
12/4/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 127 of 143

EPA_00299342
12/18/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 128 of 143

EPA_00299343
12/19/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 129 of 143

EPA_00299344
12/11/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 130 of 143

EPA_00299345
1/3/2025

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 131 of 143

EPA_00299346
12/3/2024

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 132 of 143

EPA_00299347
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 133 of 143

1/6/2025

Travis Voyles

EPA_00299348
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 134 of 143

C: (202) 787-0595

From: Voyles, Travis

Sent: Monday, February 17, 2025 6:00 PM

To: Amidon, Eric <Amidon.Eric@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@ epa.gov>; Vaseliou,
Molly <Vaseliou.Molly@epa.gov>

Subject: RE: Test Run - Contracts for Review

Attached is the first set of GRANTS for review—around $42M possible left in these to cancel.

The first few large ones are the EJ Thriving Communities Technical Assistance Centers (TCTACs)—

https://www.epa. gov/environmentaljustice/environmental-justice-thriving-communities-technical-assistance-centers

There were 18 in total established, so we are missed a number of them here. Not sure why they didn’t all get captured, but
will be something if we want to move forward with the couple included here, we probably want to apply a broad approach
and cancel them all in the vein of “reassessing the program”. I personally do not see the need for these and at the state-
level, EPA and the TCTAC grantees refused to engage with the state in any kind of coordination.

Travis Voyles
C: (202) 787-0595

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Friday, February 14, 2025 9:15 AM

To: Amidon, Eric <Amidon.Eric@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Test Run - Contracts for Review

Super helpful. Thank you!!

From: Amidon, Eric <Amidon.Eric@epa.gov>

Sent: Friday, February 14, 2025 9:14 AM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: Re: Test Run - Contracts for Review

The “base and all options value” would represent the magnitude of the waste, and the “outstanding” value
would represent how much we were able to immediately save. It is my understanding that even though some of
these contracts are at zero, they could be easily replenished and remain active until canceled.

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Friday, February 14, 2025 8:55:02 AM

To: Amidon, Eric <Amidon.Eric@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>

Cc: Corlett, Thomas <Corlett.Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Test Run - Contracts for Review

Confirming that would be the total obligation vs the outstanding value.

From: Amidon, Eric <Amidon.Eric@epa.gov>
Sent: Friday, February 14, 2025 8:53 AM

EPA_00299349
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 135 of 143

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Voyles, Travis <voyles.travis@epa.gov>
Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: Re: Test Run - Contracts for Review

Some of these have no money left, so I think lumped together this time and highlighting the over $50 million
saved in one alone....also we could use the the amount already spent on these to highlight waste and how they
are now Officially canceled and will not happen agasin.

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Friday, February 14, 2025 8:18:14 AM

To: Voyles, Travis <voyles.travis@epa.gov>; Amidon, Eric <Amidon.Eric@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Test Run - Contracts for Review

Does LZ want all of these announced either individually or lumped into a press release or just a cumulative number via
tweet?

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 10:07 PM

To: Amidon, Eric <Amidon.Eric@epa.gov>; Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Test Run - Contracts for Review

We’ll have to go contract by contract to determine that. We can discuss with OMS and OGC tomorrow on how the
process works and options.

Letting the DOGE team know now these are cleared.

Travis Voyles
C: (202) 787-0595

From: Amidon, Eric <Amidon.Eric@epa.gov>

Sent: Thursday, February 13, 2025 9:46 PM

To: Voyles, Travis <voyles.travis@epa.gov>; Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: RE: Test Run - Contracts for Review

These are good to go.
Quick question — Are we legally able to pull back any of the “obligated”?

Added Molly for her awareness.

From: Voyles, Travis <voyles.travis@epa.gov>

Sent: Thursday, February 13, 2025 7:32 PM

To: Amidon, Eric <Amidon.Eric@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Hanson, Paige (Catherine) <hanson.catherine@epa.gov>
Subject: Test Run - Contracts for Review

EPA_00299350
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131

Page 136 of 143

i OGG AO Need for Notes from EAS
Review | Comments- Terms and DOGE ‘ption (jf need
Status Review Comments OMS/Program PIID Conditions Rationale Description (if nee

Status Review Status Details more go to OMS)
For Reviewed AO Approved - | N/A 68HERH24F0023 | No notice EO: Ending Technical assistance
Final While under required. radical and for planning,
Review CAA purview, Term for wasteful development,
this is directly convenience. | government implementation, and
tied to FAR 52.249 | DEI programs | reporting assistance
"environmental and related to the
climate justice" preferencing environmental
focused climate justice
programs, program.
which is
outside of
statutory
responsibilities.
For Reviewed AO Approved - | N/A 68HERH23F0237 | No notice EO: Ending The contractor will
Final If need for the required. radical and fulfill OEJECR’s
Review External Civil Term for wasteful need for EJ and Civil
Rights side of convenience. | government Rights programming
incorporating FAR 52.249 | DEI programs | and learning material
into EPA and in support of
programs, then preferencing. | implementing EJ and
we can revisit If we were Civil rights
in future doing this, we | considerations into
contracts. should EPA policies,
insource. programs, and
activities.
For Reviewed AO Approved - | N/A 68HEOP24F0031 | No notice EO: Ending The Suppliers are
Final Should have required. radical and encouraged to bid on
Review been caught in Term for wasteful training 40
initial DEI- convenience. | government employees for 3 days
related FAR 52.249 | DEI programs | of training over a 5-
contracts and week training period,
review and preferencing spread out over 5
cancelled months that is in

person training. The
training will focus on
critical leadership
skills and should
include some training
on Environmental
Justice, Working
with Communities,
and Diversity Equity
Inclusion and
Accessibility
(DEIA).

EPA_00299351

For
Final
Review

2:25-Cv-02152-RMG

Reviewed

AO Approved -
Furthering
"cumulative
impacts"
assessment
does not align
with
Adminstration
priorities.

Date Filed 04/21/25

N/A

68HERC24F0330

Entry Number 131

No notice
required.
Term for
convenience.
FAR 52.249

Page 137 of 143

Waste:
Should be in-
sourced.
(Training
material
development.)
And HIA
probably has
a DEI angle,
though it is
not explicit
here.

The EPA Office of
Research and
Development (ORD)
is collaborating with
Region 5 to develop
Health Impact
Assessment (HIA)
learning objectives
and training
materials for new
and existing EPA
staff, and potentially
external partners,
such as states, to
understand and
perform HIA in an
EPA context. ORD
has a long history of
doing HIA research
and practice. Based
on our experience,
we are well-
positioned to be a
resource for the
Agency as it is
building capacity to
do cumulative impact
assessment (CIA), of
which one existing
methodology is
Health Impact
Assessment.
Cumulative impact
assessment is a
priority by which
EPA has committed
to addressing
environmental justice
issues.

For
Final
Review

Reviewed

AO Approved -
Not something
that should be
outsourced.

N/A

68HERH23F0327

No notice
required.
Term for
convenience.
FAR 52.249

Waste:
Retreats
might be
wasteful, and
external
contractor
support for a
retreat is
definitely
wasteful.

The contractor shall
provide strategic
planning, facilitation
and leadership
support for the
Office of Land and
Emergency
Management
(OLEM), Office of
Emergency
Management (OEM)
conferences and
meetings related to
OEM senior
management and
staff office wide
retreats. Support for
this task order should
also include an
experienced, skillful
facilitator to conduct
interviews with each
OEM staff and

EPA_00299352

2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131

Page 138 of 143

manager, provide
developmental
training exercises
and training
materials, pre-retreat
development of an
agenda and topical
discussions to
include strategic
planning, and
provide highlights
after the meeting.

For Reviewed AO Approved - | N/A 68HERC23P0042 | No notice EO: Ending Procure Gartner HR
Final Should have required. radical and research and
Review been caught in Term for wasteful advisory services
initial DEI- convenience. | government covering employee
related FAR 52.249 | DEI programs | experience, diversity,
contracts and equity, inclusion and
review and preferencing. | accessibility, and
cancelled work life integration.
For Reviewed AO Approved - | N/A 68HERH24P0143 | No notice EO: Ending CONSULTING
Final Should have required. radical and SERVICES TO
Review been caught in Term for wasteful DEVELOP A
initial DEI- convenience. | government COMPREHENSIVE
related FAR 52.249 | DEI programs | PLAN AND
contracts and STRATEGY
review and preferencing. | WHICH
cancelled ADDRESSES
DIVERSITY,
EQUITY,
INCLUSION,
ACCESSIBILITY,
AND STAFF
ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE
FOR A STEM
AUDIENCE.
TRAINING
OFFERED
SHOULD BE
For Reviewed AO Approved - | N/A 68HERC23F0428 | No notice EO: Ending SUPPORT FOR
Final Should have required. radical and EXPANDING THE
Review been caught in Term for wasteful ENVIRONMENTAL
initial DEI- convenience. | government JUSTICE
related FAR 52.249 | DEI programs | CONTENT WITHIN
contracts and ACE (AMERICA'S
review and preferencing. | CHILDREN AND
cancelled THE
ENVIRONMENT)

EPA_00299353

2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131

Page 139 of 143

For Reviewed AO Approved - | N/A 68HERH24F0409 | No notice EO: Ending Provides
Final Should have required. radical and administrative
Review been caught in Term for wasteful support and meeting
initial DEI- convenience. | government planning support to
related FAR 52.249 | DEI programs | the office of
contracts and environmental justice
review and preferencing. | and external civil
cancelled rights.
Date
Cancellation Base and All Base Exercised Si acrg Outstanding fd
Process Options Value Options Value Total Obligation Value Recent Namie
Started
2/11/2025 $117,931,407.48 $70, 122,340.16 $64,668,605.16 $53,262,802.32 ENDYNA, INC.
2/11/2025 $6,895,921.10 $3,206,754.60 $750,000.00 $6, 145,921.10 ENDYNA, INC.
2/11/2025 $228,292.84 $43,000.00 $43,000.00 $185,292.84 HUMAN CAPTIAL
RESOURCES &
CONCEPTS INC

EPA_00299354

2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 131 Page 140 of 143

2/11/2025 $248,464.00 $109,528.00 $109,528.00 $138,936.00 PEGASUS
TECHNICAL
SERVICES, INC

2/11/2025 $108,255.27 $108,255.27 $64,533.82 $43,721.45 GENERAL
DYNAMICS
INFORMATION
TECHNOLOGY, INC.

2/11/2025 $95,922.00 $95,922.00 $95,922.00 $0.00 GARTNER, INC.

2/11/2025 $180,000.00 $180,000.00 $180,000.00 $0.00 LIGHTHOUSE
STRATEGY
CONSULTING LLC

EPA_00299355
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 131

Page 141 of 143

2/11/2025 $985,889 $985,889 $985,889 0 ICF
INCORPORATED,
L.L.C.

2/11/2025 $257,672.10 $257,672.10 $257,672.10 $0.00 INTSCI-ENDYNA

LLC

Public Contract Description

BPAS 68HERH22A0018
THROUGH
68HERH22A0029. THIS IS
A NEW COMPETITIVE
EARTH T&M/FFP HYBRID
CALL ORDER FOR
OEJECR ENTITLED,
"TECHNICAL
ASSISTANCE FOR GRANT
APPLICANTS/RECIPIENTS
AND ADMINISTRATIVE
SUPPORT TO EPA UNDER
THE CLEAN AIR ACT
SECTION

THIS CALL ORDER IS TO
AWARD A CONTRACT
FOR ENVIRONMENTAL
JUSTICE AND CIVIL
RIGHTS PROGRAMMING
AND LEARNING.

EPA_00299356
2:25-Cv-02152-RMG

TASK ORDER FOR
FACILITATION,
LEADERSHIP
DEVELOPMENT, AND
OFFICE-WIDE RETREAT
SUPPORT (FOLLOW-ON
TO EP-17-W-003/0013)
UNDER MULTIPLE-
AWARD BRIDGE
CONTRACTS FOR OFFICE
OF LAND AND
EMERGENCY
MANAGEMENT, OFFICE
OF EMERGENCY
MANAGEMENT.

CONSULTING SERVICES
TO DEVELOP A
COMPREHENSIVE PLAN
AND STRATEGY WHICH
ADDRESSES DIVERSITY,
EQUITY, INCLUSION,
ACCESSIBILITY, AND
STAFF ENGAGEMENT IN
A WAY THAT IS
MEANINGFUL,
RELEVANT, AND
APPROPRIATE FOR A

Date Filed 04/21/25

Entry Number 131

Page 142 of 143

EPA_00299357
2:25-Cv-02152-RMG

STEM AUDIENCE.
TRAINING OFFERED
SHOULD BE

SUPPORT FOR
EXPANDING THE
ENVIRONMENTAL
JUSTICE CONTENT
WITHIN ACE (AMERICA'S
CHILDREN AND THE
ENVIRONMENT)
CONTRACTOR SUPPORT
FOR OFFICE OF
ENVIRONMENTAL
JUSTICE AND EXTERNAL
CIVIL RIGHTS, OFFICE OF
POLICY, PARTNERSHIPS
AND PROGRAM
DEVELOPMENT,
PARTNERSHIPS AND
COLLABORATION
DIVISION.

Travis Voyles
Assistant Deputy Admnistrator
Office of the Administrator

Date Filed 04/21/25

U.S. Environmental Protection Agency

C: (202) 787-0595

Entry Number 131

Page 143 of 143

EPA_00299358
